      Case: 25-1916    Document: 65          Filed: 07/08/2025   Pages: 180



                                 No. 25-1916

  IN THE UNITED STATES COURT OF APPEALS
         FOR THE SEVENTH CIRCUIT

                              CITY OF CHICAGO,

                             Plaintiff-Appellee,

                                       v.

                              BP P.L.C., ET AL.,

                           Defendants-Appellants.


            On Appeal from the United States District Court
          for the Northern District of Illinois, Eastern Division
         Case No. 1:24-cv-02496 – Hon. Franklin U. Valderrama

                       APPELLANTS’ OPENING BRIEF

Thomas G. Hungar                            Theodore J. Boutrous, Jr.
Lochlan F. Shelfer                          William E. Thomson
GIBSON, DUNN & CRUTCHER LLP                 GIBSON, DUNN & CRUTCHER LLP
1700 M St., N.W.                            333 South Grand Avenue
Washington, D.C. 20036                      Los Angeles, CA 90071
Telephone: (202) 887-3784                   Telephone: (213) 229-7000
thungar@gibsondunn.com                      tboutrous@gibsondunn.com
lshelfer@gibsondunn.com                     wthomson@gibsondunn.com

                                            Joshua D. Dick
                                            GIBSON, DUNN & CRUTCHER LLP
                                            One Embarcadero Center, Suite 2600
                                            San Francisco, CA 94111
                                            Telephone: (415) 393-8200
                                            jdick@gibsondunn.com

 Attorneys for Defendants-Appellants Chevron Corporation and Chevron U.S.A. Inc
                    [Additional counsel listed on signature page]
                                                                                                           Save As                  Clear Form
                      Case:
                     Case:   25-1916 Document:
                           25-1916    Document:654                                Filed:07/08/2025
                                                                                  Filed: 06/03/2025               Pages:180
                                                                                                                  Pages: 2
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 25-1916
                    _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Scharf Banks Marmor LLC, Sullivan & Cromwell LLP, Arnold & Porter Kaye Scholer LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Stephanie A. Scharf
Attorney’s Signature: ________________________________________       06/03/2025
                                                               Date: ________________________________________

                         Stephanie Scharf
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         30 West Hubbard Street, Suite 500
Address: ______________________________________________________________________________________________

           Chicago, IL 60654
          ________________________________________________________________________________________________________

              (312) 726-6000
Phone Number: ________________________________________ Fax Number: ______________________________________

                sscharf@scharfbanks.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:
       Case:   25-1916 Document:
             25-1916    Document:654        Filed:07/08/2025
                                            Filed: 06/03/2025   Pages:180
                                                                Pages: 2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
                                                                                                           Save As                  Clear Form
                      Case:
                     Case:   25-1916 Document:
                           25-1916    Document:655                                Filed:07/08/2025
                                                                                  Filed: 06/03/2025               Pages:180
                                                                                                                  Pages: 2
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Appellate Court No: 25-1916
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               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Scharf Banks Marmor LLC, Sullivan & Cromwell LLP, Arnold & Porter Kaye Scholer LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ George D. Sax
Attorney’s Signature: ________________________________________       06/03/2025
                                                               Date: ________________________________________

                         George Sax
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         30 West Hubbard Street, Suite 500
Address: ______________________________________________________________________________________________

           Chicago, IL 60654
          ________________________________________________________________________________________________________

              (312) 726-6000
Phone Number: ________________________________________ Fax Number: ______________________________________

                gsax@scharfbanks.com
E-Mail Address: __________________________________________________________________________________________________
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       Case:   25-1916 Document:
             25-1916    Document:655        Filed:07/08/2025
                                            Filed: 06/03/2025   Pages:180
                                                                Pages: 2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
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                     Case:   25-1916 Document:
                           25-1916    Document:656                                Filed:07/08/2025
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al.
Short Caption: _________________________________________________________________________________________

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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           American Petroleum Institute
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           McGuireWoods LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     American Petroleum Institute has no parent corporation.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     No publicly held company has a 10% or greater ownerhsip in API.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           n/a
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



                      /s/ Brian D. Schmalzbach
Attorney’s Signature: ________________________________________       6/3/2025
                                                               Date: ________________________________________

                         Brian D. Schmalzbach
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         800 East Canal Street, Richmond, VA 23219
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________

              (804) 775-4746
Phone Number: ________________________________________             (804) 698-2304
                                                       Fax Number: ______________________________________

                bschmalzbach@mcguirewoods.com
E-Mail Address: __________________________________________________________________________________________________
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                     Case:  25-1916                Document:65
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 25-1916
                    _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
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(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Scharf Banks Marmor LLC, Sullivan & Cromwell LLP, Arnold & Porter Kaye Scholer LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Amanda Flug Davidoff
Attorney’s Signature: ________________________________________       June 6, 2025
                                                               Date: ________________________________________

                         Amanda Flug Davidoff
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         1700 New York Avenue NW, Suite 700
Address: ______________________________________________________________________________________________

           Washington, D.C. 20006
          ________________________________________________________________________________________________________

              202-956-7500
Phone Number: ________________________________________             202-956-6993
                                                       Fax Number: ______________________________________

                davidoffa@sullcrom.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
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                        Document:  10        Filed:07/08/2025
                                            Filed:  06/06/2025    Pages:180
                                                                 Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
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                      Case:25-1916
                     Case:  25-1916                Document:65
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Appellate Court No: 25-1916
                    _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

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(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          Scharf Banks Marmor LLC, Sullivan & Cromwell LLP, Arnold & Porter Kaye Scholer LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Richard C. Pepperman II
Attorney’s Signature: ________________________________________       June 6, 2025
                                                               Date: ________________________________________

                         Richard C. Pepperman II
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         125 Broad Street
Address: ______________________________________________________________________________________________

           New York, New York 10004-2489
          ________________________________________________________________________________________________________

              212-558-3493
Phone Number: ________________________________________             212-291-9113
                                                       Fax Number: ______________________________________

                peppermanr@sullcrom.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
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       Case:  25-1916    Document:65
                        Document:  11        Filed:07/08/2025
                                            Filed:  06/06/2025    Pages:180
                                                                 Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
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                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  12                    Filed:07/08/2025
                                                                                  Filed:  06/10/2025               Pages:180
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                    25-1916
Appellate Court No: _______________

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Short Caption: _________________________________________________________________________________________

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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           ConocoPhillips; ConocoPhillips Company
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Massey & Gail LLP; Wilmer Cutler Pickering Hale and Dorr LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     No publicly held corporation owns 10% or more in ConocoPhillips stock.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Suyash Agrawal
Attorney’s Signature: ________________________________________       June 10, 2025
                                                               Date: ________________________________________

                         Suyash Agrawal
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         50 E. Washington Street, Suite 400
Address: ______________________________________________________________________________________________

           Chicago, IL 60602
          ________________________________________________________________________________________________________

              (312) 283-1590
Phone Number: ________________________________________             (312) 379-0467
                                                       Fax Number: ______________________________________

                sagrawal@masseygail.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  12       Filed:07/08/2025
                                           Filed:  06/10/2025    Pages:180
                                                                Pages:  2           (2 of 12)



Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): ConocoPhillips does not have a parent corporation. ConocoPhillips Company
is wholly owned by ConocoPhillips.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  15    Filed:07/08/2025
                                 Filed:  06/13/2025    Pages:180
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       Case:  25-1916    Document:65
                        Document:  15         Filed:07/08/2025
                                             Filed:  06/13/2025    Pages:180
                                                                  Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): Phillips 66 has no parent companies. The parent company of Phillips 66
Company is Phillips 66.

(3)(ii): The Vanguard Group owns 10% or more of Phillips 66 stock. Phillips 66
Company is wholly owned by Phillips 66.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  16    Filed:07/08/2025
                                 Filed:  06/13/2025    Pages:180
                                                      Pages:  2
        Case:25-1916
       Case:  25-1916    Document:65
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                                                                  Pages:  2


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(3)(i): Phillips 66 has no parent companies. The parent company of Phillips 66
Company is Phillips 66.

(3)(ii): The Vanguard Group owns 10% or more of Phillips 66 stock. Phillips 66
Company is wholly owned by Phillips 66.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  17    Filed:07/08/2025
                                 Filed:  06/13/2025    Pages:180
                                                      Pages:  2
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  17         Filed:07/08/2025
                                             Filed:  06/13/2025    Pages:180
                                                                  Pages:  2


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Company is wholly owned by Phillips 66.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  18    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
                                                      Pages:  2
    Case:25-1916
   Case:  25-1916     Document:65
                     Document:  18          Filed:07/08/2025
                                           Filed:  06/17/2025    Pages:180
                                                                Pages:  2


                                ADDENDUM

(3)(i): Exxon Mobil Corporation has no parent corporation. ExxonMobil Oil
Corporation’s parent corporation is Mobil Corporation, and Mobil Corporation’s
parent corporation is Exxon Mobil Corporation.

(3)(ii): No publicly held company owns ten percent or more of Exxon Mobil
Corporation’s outstanding stock. ExxonMobil Oil Corporation’s parent company,
Mobil Corporation, is wholly owned by Exxon Mobil Corporation, a publicly traded
company.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  19    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
                                                      Pages:  2
    Case:25-1916
   Case:  25-1916     Document:65
                     Document:  19          Filed:07/08/2025
                                           Filed:  06/17/2025    Pages:180
                                                                Pages:  2


                                ADDENDUM

(3)(i): Exxon Mobil Corporation has no parent corporation. ExxonMobil Oil
Corporation’s parent corporation is Mobil Corporation, and Mobil Corporation’s
parent corporation is Exxon Mobil Corporation.

(3)(ii): No publicly held company owns ten percent or more of Exxon Mobil
Corporation’s outstanding stock. ExxonMobil Oil Corporation’s parent company,
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company.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  20    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
                                                      Pages:  2
    Case:25-1916
   Case:  25-1916     Document:65
                     Document:  20          Filed:07/08/2025
                                           Filed:  06/17/2025    Pages:180
                                                                Pages:  2


                                ADDENDUM

(3)(i): Exxon Mobil Corporation has no parent corporation. ExxonMobil Oil
Corporation’s parent corporation is Mobil Corporation, and Mobil Corporation’s
parent corporation is Exxon Mobil Corporation.

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company.
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  23    Filed:07/08/2025
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                                                      Pages:  2
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  23    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
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 Case:25-1916
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                 Document:  24    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
                                                      Pages:  2
 Case:25-1916
Case:  25-1916    Document:65
                 Document:  24    Filed:07/08/2025
                                 Filed:  06/17/2025    Pages:180
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                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  26                    Filed:07/08/2025
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                                                                                                                  Pages:  2
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Exxon Mobil Corporation and ExxonMobil Oil Corporation
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Johnson & Bell, Ltd.; Paul, Weiss, Rifkind, Wharton & Garrison LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ David F. Fanning
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         David F. Fanning
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         33 W. Monroe Street, Suite 2700
Address: ______________________________________________________________________________________________

           Chicago, Illinois 60603
          ________________________________________________________________________________________________________

              (312) 984-0289
Phone Number: ________________________________________             (312) 372-9818
                                                       Fax Number: ______________________________________

                fanningd@jbltd.com
E-Mail Address: __________________________________________________________________________________________________
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          Case:25-1916
         Case:  25-1916        Document:65
                              Document:  26              Filed:07/08/2025
                                                        Filed:  06/18/2025        Pages:180
                                                                                 Pages:  2


                                            ADDENDUM

(3)(i): Exxon Mobil Corporation has no parent corporation. ExxonMobil Oil Corporation’s parent
corporation is Mobil Corporation, and Mobil Corporation’s parent corporation is Exxon Mobil Corporation.

(3)(ii): No publicly held company owns ten percent or more of Exxon Mobil Corporation’s outstanding
stock. ExxonMobil Corporation’s parent company, Mobil Corporation, is wholly owned by Exxon Mobil
Corporation, a publicly traded company.
                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
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                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al.
Short Caption: _________________________________________________________________________________________

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          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Chevron Corporation; Chevron U.S.A., Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Riley Safer Holmes & Cancila LLP; Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP;
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Patricia Brown Holmes
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Patricia Brown Holmes
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Riley Safer Holmes & Cancila LLP
Address: ______________________________________________________________________________________________

           1 S. Dearborn St., Ste. 2200, Chicago, IL 60603
          ________________________________________________________________________________________________________

              312-471-8745
Phone Number: ________________________________________             312-471-8701
                                                       Fax Number: ______________________________________

                pholmes@rshc-law.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  30         Filed:07/08/2025
                                             Filed:  06/18/2025    Pages:180
                                                                  Pages:  2


                                  ADDENDUM
(3)(i): Chevron Corporation has no parent corporation. Chevron U.S.A. Inc.’s parent
corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
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                                                  Document:  31                    Filed:07/08/2025
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                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al.
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

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           Riley Safer Holmes & Cancila LLP; Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP;
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Ronald S. Safer
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Ronald S. Safer
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Riley Safer Holmes & Cancila LLP
Address: ______________________________________________________________________________________________

           1 S. Dearborn St., Ste. 2200, Chicago, IL 60603
          ________________________________________________________________________________________________________

              312-471-8736
Phone Number: ________________________________________             312-471-8701
                                                       Fax Number: ______________________________________

                rsafer@rshc-law.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  31         Filed:07/08/2025
                                             Filed:  06/18/2025    Pages:180
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                                  ADDENDUM
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                                                  Document:  32                    Filed:07/08/2025
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               City of Chicago v. BP P.L.C., et al
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

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           Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP; Riley Safer Holmes & Cancila LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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                     Please see attached addendum.
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(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Theodore J. Boutrous, Jr.
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Theodore J. Boutrous, Jr.
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         Gibson, Dunn & Crutcher LLP
Address: ______________________________________________________________________________________________

           333 S. Grand Ave., Los Angeles, CA 90071-3197
          ________________________________________________________________________________________________________

              213-229-7000
Phone Number: ________________________________________             213-229-7520
                                                       Fax Number: ______________________________________

                tboutrous@gibsondunn.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  32         Filed:07/08/2025
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           Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP; Riley Safer Holmes & Cancila LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

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           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Thomas G. Hungar
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Thomas G. Hungar
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Gibson, Dunn & Crutcher LLP
Address: ______________________________________________________________________________________________

           1700 M Street, N.W., Washington, D.C. 20036
          ________________________________________________________________________________________________________

              202-955-8500
Phone Number: ________________________________________             202-467-0539
                                                       Fax Number: ______________________________________

                thungar@gibsondunn.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
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          ________________________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Joshua D. Dick
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Joshua D. Dick
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Gibson, Dunn & Crutcher LLP
Address: ______________________________________________________________________________________________

           One Embarcadero Center, Suite 2600, San Francisco, CA 94111
          ________________________________________________________________________________________________________

              415-393-8200
Phone Number: ________________________________________             415-374-8451
                                                       Fax Number: ______________________________________

                jdick@gibsondunn.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Chevron Corporation; Chevron U.S.A., Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP; Riley Safer Holmes & Cancila LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Lochlan F. Shelfer
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Lochlan F. Shelfer
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Gibson, Dunn & Crutcher LLP
Address: ______________________________________________________________________________________________

           1700 M Street, N.W., Washington, D.C. 20036
          ________________________________________________________________________________________________________

              202-887-3641
Phone Number: ________________________________________             202-831-6016
                                                       Fax Number: ______________________________________

                Lshelfer@gibsondunn.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  35         Filed:07/08/2025
                                             Filed:  06/18/2025    Pages:180
                                                                  Pages:  2


                                  ADDENDUM
(3)(i): Chevron Corporation has no parent corporation. Chevron U.S.A. Inc.’s parent
corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  36                    Filed:07/08/2025
                                                                                  Filed:  06/18/2025               Pages:180
                                                                                                                  Pages:  2
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Chevron Corporation; Chevron U.S.A., Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Riley Safer Holmes & Cancila LLP; Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP;
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Lauren Jaffe
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         Lauren Jaffe
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Riley Safer Holmes & Cancila LLP
Address: ______________________________________________________________________________________________

           1 S. Dearborn St., Ste. 2200, Chicago, IL 60603
          ________________________________________________________________________________________________________

              312-471-8726
Phone Number: ________________________________________             312-471-8701
                                                       Fax Number: ______________________________________

                LJaffe@rshc-law.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  36         Filed:07/08/2025
                                             Filed:  06/18/2025    Pages:180
                                                                  Pages:  2


                                  ADDENDUM
(3)(i): Chevron Corporation has no parent corporation. Chevron U.S.A. Inc.’s parent
corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Exxon Mobil Corporation and ExxonMobil Oil Corporation
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Johnson & Bell, Ltd.; Paul, Weiss, Rifkind, Wharton & Garrison LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ H. Patrick Morris
Attorney’s Signature: ________________________________________       6/18/2025
                                                               Date: ________________________________________

                         H. Patrick Morris
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes _____ No _____

         33 W. Monroe Street, Suite 2700
Address: ______________________________________________________________________________________________

           Chicago, Illinois 60603
          ________________________________________________________________________________________________________

              (312) 984-0244
Phone Number: ________________________________________             (312) 372-9818
                                                       Fax Number: ______________________________________

                morrisp@jbltd.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
          Case:25-1916
         Case:  25-1916        Document:65
                              Document:  37              Filed:07/08/2025
                                                        Filed:  06/20/2025        Pages:180
                                                                                 Pages:  2


                                            ADDENDUM

(3)(i): Exxon Mobil Corporation has no parent corporation. ExxonMobil Oil Corporation’s parent
corporation is Mobil Corporation, and Mobil Corporation’s parent corporation is Exxon Mobil Corporation.

(3)(ii): No publicly held company owns ten percent or more of Exxon Mobil Corporation’s outstanding
stock. ExxonMobil Corporation’s parent company, Mobil Corporation, is wholly owned by Exxon Mobil
Corporation, a publicly traded company.
 Case:25-1916
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                                 Filed:  07/07/2025    Pages:180
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        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  49         Filed:07/08/2025
                                             Filed:  07/07/2025    Pages:180
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                                  ADDENDUM
(3)(i): Chevron Corporation has no parent corporation. Chevron U.S.A. Inc.’s parent
corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.
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                      Case:25-1916
                     Case:  25-1916                Document:65
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                                                                                  Filed:  07/07/2025               Pages:180
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Arnold & Porter Kaye Scholer LLP, Sullivan & Cromwell LLP, Scharf Banks Marmor LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Diana E. Reiter
Attorney’s Signature: ________________________________________       July 7, 2025
                                                               Date: ________________________________________

                         Diana E. Reiter
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         250 West 55th Street
Address: ______________________________________________________________________________________________

           New York, NY 10019
          ________________________________________________________________________________________________________

              212-836-8000
Phone Number: ________________________________________             212-836-8689
                                                       Fax Number: ______________________________________

                Diana.Reiter@arnoldporter.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916       Document:65
                           Document:  50          Filed:07/08/2025
                                                 Filed:  07/07/2025     Pages:180
                                                                       Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  51                    Filed:07/08/2025
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Arnold & Porter Kaye Scholer LLP, Sullivan & Cromwell LLP, Scharf Banks Marmor LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ John D. Lombardo
Attorney’s Signature: ________________________________________       July 7, 2025
                                                               Date: ________________________________________

                         John D. Lombardo
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         777 South Figueroa Street, 44th Floor
Address: ______________________________________________________________________________________________

           Los Angeles, CA 90017
          ________________________________________________________________________________________________________

              213-243-4000
Phone Number: ________________________________________             213-243-4199
                                                       Fax Number: ______________________________________

                John.Lombardo@arnoldporter.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916       Document:65
                           Document:  51          Filed:07/08/2025
                                                 Filed:  07/07/2025     Pages:180
                                                                       Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
                                                                                                           Save As                  Clear Form
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                     Case:  25-1916                Document:65
                                                  Document:  52                    Filed:07/08/2025
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v BP p.l.c. et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

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required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           BP p.l.c., BP America Inc., and BP Products North America Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Arnold & Porter Kaye Scholer LLP, Sullivan & Cromwell LLP, Scharf Banks Marmor LLC
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see the attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Jonathan W. Hughes
Attorney’s Signature: ________________________________________       July 7, 2025
                                                               Date: ________________________________________

                         Jonathan W. Hughes
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Three Embarcadero Center, 10th Floor
Address: ______________________________________________________________________________________________

           San Francisco, CA 94111
          ________________________________________________________________________________________________________

              415-471-3100
Phone Number: ________________________________________             415-471-3400
                                                       Fax Number: ______________________________________

                Jonathan.Hughes@arnoldporter.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916       Document:65
                           Document:  52          Filed:07/08/2025
                                                 Filed:  07/07/2025     Pages:180
                                                                       Pages:  2


Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): BP p.l.c. has no parent companies. The parent companies of BP America Inc.
are BP America Ltd., BP Holdings North America Ltd., and BP p.l.c. The parent
companies of BP Products North America Inc. are The Standard Oil Company, BP
Company North America Inc., BP Corporation North America Inc., BP America Inc.,
BP America Ltd., BP Holdings North America Ltd., and BP p.l.c.

(3)(ii): BP America Inc. and BP Products North America Inc. are wholly-owned
indirect subsidiaries of BP p.l.c. No publicly-traded company owns more than 10%
of BP p.l.c. stock.
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et. al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           American Petroleum Institute
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           McGuireWoods LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     American Petroleum Institute has no parent corporation
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     No publicly held company has a 10% or greater ownership in API.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           n/a
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          n/a
          ________________________________________________________________________________________________________



                      /s/ Patrick P. Clyder
Attorney’s Signature: ________________________________________       7/7/25
                                                               Date: ________________________________________

                         Patrick P. Clyder
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         77 West Wacker Drive, Suite 4100
Address: ______________________________________________________________________________________________

           Chicago, IL 60601
          ________________________________________________________________________________________________________

              (312) 750-8668
Phone Number: ________________________________________             (312) 558-4382
                                                       Fax Number: ______________________________________

                pclyder@mcguirewoods.com
E-Mail Address: __________________________________________________________________________________________________
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                     Case:  25-1916                Document:65
                                                  Document:  55                    Filed:07/08/2025
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP p.l.c., et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           ConocoPhillips; ConocoPhillips Company
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Massey & Gail LLP; Wilmer Cutler Pickering Hale and Dorr LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     No publicly held corporation owns 10% or more in ConocoPhillips stock.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Matthew T. Martens
Attorney’s Signature: ________________________________________       July 7, 2025
                                                               Date: ________________________________________

                         Matthew T. Martens
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
                                                                                                           Yes _____

         2100 Pennsylvania Avenue, N.W.
Address: ______________________________________________________________________________________________

           Washington, D.C. 20037
          ________________________________________________________________________________________________________

              (202) 663-6000
Phone Number: ________________________________________ Fax Number: ______________________________________

                matthew.martens@wilmerhale.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  55       Filed:07/08/2025
                                           Filed:  07/07/2025    Pages:180
                                                                Pages:  2



Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): ConocoPhillips does not have a parent corporation. ConocoPhillips Company
is wholly owned by ConocoPhillips.
                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  56                    Filed:07/08/2025
                                                                                  Filed:  07/07/2025               Pages:180
                                                                                                                  Pages:  2
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP p.l.c., et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           ConocoPhillips; ConocoPhillips Company
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Massey & Gail LLP; Wilmer Cutler Pickering Hale and Dorr LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     No publicly held corporation owns 10% or more in ConocoPhillips stock.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Hallie B. Levin
Attorney’s Signature: ________________________________________       July 7, 2025
                                                               Date: ________________________________________

                         Hallie B. Levin
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         7 World Trade Center, 250 Greenwich Street
Address: ______________________________________________________________________________________________

           New York, NY 10007
          ________________________________________________________________________________________________________

              (212) 230-8800
Phone Number: ________________________________________ Fax Number: ______________________________________

                hallie.levin@wilmerhale.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  56       Filed:07/08/2025
                                           Filed:  07/07/2025    Pages:180
                                                                Pages:  2



Addendum to Appearance & Circuit Rule 26.1 Disclosure Statement

(3)(i): ConocoPhillips does not have a parent corporation. ConocoPhillips Company
is wholly owned by ConocoPhillips.
                                                                                                           Save As                  Clear Form
                     Case: 25-1916
                     Case: 25-1916                Document: 65
                                                  Document: 58-1                     Filed:
                                                                                  Filed:    07/08/2025 Pages:
                                                                                         07/08/2025      Pages: 2
                                                                                                              180                               (3 of 12)
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           Chevron Corporation; Chevron U.S.A., Inc.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Gibson, Dunn & Crutcher LLP; Susman Godfrey LLP; Riley Safer Holmes & Cancila LLP
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Herbert J. Stern
Attorney’s Signature: ________________________________________       7/7/2025
                                                               Date: ________________________________________

                         Herbert J. Stern
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Stern Kilcullen & Rufolo, LLC
Address: ______________________________________________________________________________________________

           325 Columbia Turnpike, suite 110, Florham Park, NJ 07932
          ________________________________________________________________________________________________________

              973-535-1900
Phone Number: ________________________________________             973-535-9664
                                                       Fax Number: ______________________________________

                hstern@sgklaw.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
       Case: 25-1916
       Case: 25-1916    Document: 65
                        Document: 58-1          Filed:
                                             Filed:    07/08/2025 Pages:
                                                    07/08/2025      Pages: 2
                                                                         180          (4 of 12)


                                  ADDENDUM
(3)(i): Chevron Corporation has no parent corporation. Chevron U.S.A. Inc.’s parent
corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
                                                                                                           Save As                  Clear Form
                      Case:25-1916
                     Case:  25-1916                Document:65
                                                  Document:  59                    Filed:07/08/2025
                                                                                  Filed:  07/08/2025               Pages:180
                                                                                                                  Pages:  2                     (7 of 12)
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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          i)        Identify all its parent corporations, if any; and

                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Joel M. Silverstein
Attorney’s Signature: ________________________________________       7/7/2025
                                                               Date: ________________________________________

                         Joel M. Silverstein
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Stern, Kilcullen & Rufolo, LLC
Address: ______________________________________________________________________________________________

           325 Columbia Turnpike, Suite 110, Florham Park, NJ 07932-0992
          ________________________________________________________________________________________________________

              973-535-1900
Phone Number: ________________________________________             973-535-9664
                                                       Fax Number: ______________________________________

                jsilverstein@sgklaw.com
E-Mail Address: __________________________________________________________________________________________________
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        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  59         Filed:07/08/2025
                                             Filed:  07/08/2025    Pages:180
                                                                  Pages:  2           (8 of 12)


                                  ADDENDUM
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corporation is Chevron Corporation.
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Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
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                      Case:25-1916
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Erica W. Harris
Attorney’s Signature: ________________________________________       7//2025
                                                               Date: ________________________________________

                         Erica W. Harris
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Susman Godfrey LLP
Address: ______________________________________________________________________________________________

           1000 Louisiana Street, Suite 5100, Houston, TX 77002
          ________________________________________________________________________________________________________

              713-651-9366
Phone Number: ________________________________________             713-654-6666
                                                       Fax Number: ______________________________________

                eharris@susmangodfrey.com
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
        Case:25-1916
       Case:  25-1916    Document:65
                        Document:  60         Filed:07/08/2025
                                             Filed:  07/08/2025    Pages:180
                                                                  Pages:  2           (10 of 12)


                                  ADDENDUM
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Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
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                      Case:25-1916
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    25-1916
Appellate Court No: _______________

               City of Chicago v. BP P.L.C., et al
Short Caption: _________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          Stern, Kilcullen & Rufolo, LLC

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                     Please see attached addendum.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     Please see attached addendum.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ William E. Thomson
Attorney’s Signature: ________________________________________       7//2025
                                                               Date: ________________________________________

                         William E. Thomson
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         Gibson, Dunn & Crutcher LLP
Address: ______________________________________________________________________________________________

           333 S. Grand Ave., Los Angeles, CA 90071-3197
          ________________________________________________________________________________________________________

              213-229-7891
Phone Number: ________________________________________             213-229-7520
                                                       Fax Number: ______________________________________

                wthomson@gibsondunn.com
E-Mail Address: __________________________________________________________________________________________________
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       Case:  25-1916    Document:65
                        Document:  61         Filed:07/08/2025
                                             Filed:  07/08/2025    Pages:180
                                                                  Pages:  2           (12 of 12)


                                  ADDENDUM
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corporation is Chevron Corporation.
(3)(ii): No publicly held company holds 10% or more of Chevron Corporation’s stock.
Chevron U.S.A. Inc. is a wholly owned subsidiary of Chevron Corporation.åååååå
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                            INTRODUCTION

     Plaintiff, the City of Chicago, sued selected energy companies and

a trade association (“Defendants”) in Illinois state court, seeking to use

Illinois state tort law to recover for physical harms allegedly attributable

to the effects of global climate change stemming from the cumulative im-

pact of the worldwide production, promotion, sale, and use of oil and gas

spanning back decades. Defendants removed this action to federal dis-

trict court under the federal officer removal statute, 28 U.S.C. § 1442(a).

Backed by reams of evidence, Defendants’ notice of removal demon-

strated that Plaintiff’s claims are related in part to oil and gas production

that Defendants undertook for the federal government under federal di-

rection.

     Plaintiff sought to avoid federal jurisdiction by arguing that its

claims concerned only Defendants’ allegedly deceptive advertising and by

purporting to “disclai[m] injuries arising on federal property and those

arising from Defendants’ provision of non-commercial, specialized fossil

fuel products to the federal government for military and national defense

purposes.” Separate Appendix (“S.A.”) 34. But Plaintiff’s artfully crafted

arguments rest on a fiction. Plaintiff’s only alleged source of injuries is


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the emission of greenhouse gases. Yet, as Defendants showed in their

notice of removal, it is impossible to tell whether particular emissions

stemmed from governmental or non-governmental sources. Put differ-

ently, greenhouse gas emissions from fossil fuel produced at the direction

of the federal government are indistinguishable and indivisible from

emissions traceable to ordinary consumer combustion of fossil fuels. Un-

der this Court’s precedent, whether Plaintiff’s “injuries flowed from [De-

fendants’] specific wartime production for the federal government or from

. . . operations outside those confines . . . are merits questions that a fed-

eral court should decide.” Baker v. Atl. Richfield Co., 962 F.3d 937, 944

(7th Cir. 2020). The district court nevertheless remanded the case.

     The district court committed two fundamental errors in its analysis

of federal-officer jurisdiction. First, the district court erred in crediting

Plaintiff’s effort to characterize this case as concerning only Defendants’

allegedly misleading advertising and deception—and not Defendants’ oil

and gas production activities that allegedly caused Plaintiff’s claimed in-

juries. That analysis improperly limits the scope of the federal officer

removal statute, which permits removal whenever the “civil action” that

the plaintiff has filed “relat[es] to” Defendants’ federal acts. 28 U.S.C.

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§ 1442(a)(1). Here, Plaintiff’s “civil action” is not confined to allegedly

tortious marketing activities, but necessarily includes the complaint’s

theory of causation and injury, which rests entirely on the greenhouse

gas emissions stemming from the production and use of fossil fuels.

Emissions arising from Defendants’ conduct (for the government and oth-

erwise) are an essential element of Plaintiff’s claims, so they are neces-

sarily part of this “civil action.” And because emissions from governmen-

tal and non-governmental sources cannot be separated, the district

court’s decision would empower state courts to impose liability on Defend-

ants for alleged emissions attributable to and related to federally super-

vised activities, or at minimum, to decide causal questions about the ex-

tent to which Plaintiff’s injuries are attributable to Defendants’ federal

work. This flies in the face of the federal officer removal statute.

     Second, the district court erred in crediting Plaintiff’s disclaimer

and its efforts to exclude injuries resulting from Defendants’ federal

work. Because Plaintiff seeks recovery for a single, indivisible injury

(harm from commingled greenhouse gas emissions), it cannot simply dis-

claim part of that injury by ipse dixit. Whether and to what extent




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Plaintiff’s injuries are traceable to Defendants’ federal work is itself a

question that must be resolved in federal court.

     This is a textbook case for federal officer removal. The federal of-

ficer removal statute guarantees that those sued for actions taken under

federal direction will have a federal forum in which to raise federal de-

fenses to liability. And as this Court recognized in Baker, Congress pro-

vided for federal-officer removal jurisdiction precisely so that federal

courts can resolve “merits questions”—including “difficult causation

question[s]”—that drive the availability of defenses for actions taken un-

der federal authority. 962 F.3d at 945, n.3; see Willingham v. Morgan,

395 U.S. 402, 407 (1969).

     The district court erred in remanding this case, and this Court

should reverse.

                    JURISDICTIONAL STATEMENT
     Defendants timely removed this action to the district court on

March 28, 2024. 28 U.S.C. § 1446(b)(2); S.A 218. The district court had

federal question jurisdiction under the Federal Officer Removal Statute,

28 U.S.C. § 1442.




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       On May 16, 2025, the district court granted Plaintiff’s motion to

remand this case to state court. Appendix (“App.”) 1-26. Defendants

timely filed a notice of appeal on May 28, 2025. S.A. 1-13. This Court

has jurisdiction under 28 U.S.C. § 1447(d) to review the district court’s

entire remand order. See BP P.L.C. v. Mayor & City Council of Baltimore,

593 U.S. 230 (2021).

                       STATEMENT OF THE ISSUES
       I.    Whether the district court had jurisdiction under the federal

officer removal statute, 28 U.S.C. § 1442(a)(1), because Plaintiff’s injuries

were allegedly caused by emissions from oil and gas, a substantial

amount of which Defendants produced at the direction of federal officers,

such that Plaintiff’s claims “relat[e] to” Defendants’ federal acts.

       II.   Whether the district court erred in holding that Plaintiff’s

purported disclaimer of liability based on Defendants’ federally super-

vised activities precluded removal under the federal officer removal stat-

ute.

                       STATEMENT OF THE CASE

       In this suit, Plaintiff seeks to hold Defendants—fourteen energy

producers and a trade association to which they belong—liable under


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state tort law for the production, promotion, and sale of oil and gas that

create greenhouse gas emissions when combusted by end users. A sub-

stantial portion of the emissions for which Plaintiff seeks to impose lia-

bility is attributable to oil and gas production activities that Defendants

undertook at the federal government’s direction, including the production

of highly specialized, non-commercial-grade military fuels to support the

government’s wartime and peacekeeping efforts. Defendants thus re-

moved this case to federal court under the federal officer removal statute,

28 U.S.C. § 1442(a). This appeal arises from the district court’s decision

remanding the case to state court.

        A. Factual Background

     Oil and gas power our national defense; keep our homes, offices,

and factories illuminated, heated, and cooled; and transport people and

products across the nation and around the world. S.A. 222-23. The

United States thus views fossil fuels as “strategically important domestic

resources” that should be developed to “reduce the growing dependence”

on “politically and economically unstable sources of foreign oil imports.”

42 U.S.C. § 15927(b)(1); see also Final List of Critical Minerals 2018, 83

Fed. Reg. 23,295, 23,296 (May 18, 2018) (“fossil fuels” are “indispensable

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to a modern society for the purposes of national security, technology, in-

frastructure, and energy production”). For “[o]ver the last 120 years, the

U.S. government has relied upon and controlled the oil and gas industry

to obtain oil supplies and expand the production of petroleum products,

in order to meet military needs and enhance national security.” S.A. 326.

     Since World War II, the federal government has required and pro-

moted the production of oil and gas by Defendants to meet military and

national economy demands. See S.A. 236-86. During wartime, the fed-

eral government has required Defendants to produce oil and gas, includ-

ing high-octane fuel for airplanes (“avgas”). S.A. 236-37. Indeed, during

World War II, Congress created federal agencies—such as the Petroleum

Administration for War (“PAW”)—to direct the oil and gas industry, in-

cluding Defendants, and prioritize the production of aviation gasoline.

S.A. 236-39. And PAW maintained “disciplinary measures” for noncom-

pliance. S.A. 240, 427. The government took similar measures during

the Korean War, requiring oil companies to drill wells and ensure ade-

quate quantities of avgas for military use. S.A. 355-56. And after the

1973 oil embargo, the government issued directives for companies,




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including Defendants, to supply millions of barrels of petroleum to the

Department of Defense. S.A. 241-42, 456.

     “To this day, Defendants supply the [government] with highly spe-

cialized fuels according to military specifications to meet its need to

power planes, ships, and other vehicles.” S.A. 245. To take just one ex-

ample, from 2016 to 2020, BP contracted with the government to provide

approximately 1.5 billion gallons of specialized military fuel, which was

required to contain certain additives and conform to specific chemical and

physical requirements. S.A. 247-48, 572.

     In addition, Defendants have operated the federal government’s pe-

troleum reserves and production facilities on its behalf. Chevron and its

predecessor were involved in the operation, development, and production

of the Elk Hills Naval Petroleum Reserve on behalf of the government

from 1944 to 1998. See S.A. 251-54, 258-59. The government directed

daily production at the reserve to meet fuel shortages. See, e.g., S.A. 256-

57, 1144, 1278. Similarly, Defendants produced oil for the government’s

Strategic Petroleum Reserve (“SPR”) and operated its infrastructure,

with the aim of helping the government reduce the impact of disruptions

in supplies of petroleum products. S.A. 279-82.

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     Defendants also assisted the government by producing oil and gas

in the Outer Continental Shelf at the direction and supervision of the

federal government. S.A. 262, 270-71. And Defendants developed min-

eral resources on federal lands offshore based on leases from the Bureau

of Land Management. S.A. 278-79.

        B. Procedural Background

     In March 2024, the City of Chicago sued Defendants in state court

seeking damages for the “climate change impacts” it claims resulted from

“greenhouse gas emissions” caused by “fossil fuels.” S.A. 30. Seeking to

hold Defendants liable for “global warming” from “the 1950s to the pre-

sent,” Plaintiff alleges that Defendants have “extracted and sold fossil

fuel[] products” for decades. S.A. 31. Plaintiff claims that Defendants

allegedly “misrepresented and concealed the hazards of fossil fuel prod-

ucts,” which “drove fossil fuel consumption” and “caused an . . . increase

in anthropogenic GHG emissions and accelerated global warming,” which

in turn allegedly “brought about devastating climate change impacts to

the City of Chicago.” S.A. 30, 33. Plaintiff’s suit, in sum, seeks recovery

for “Climate-Related Harms” based on the “release [of] greenhouse gases




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into the atmosphere” from the sale and use of fossil-fuel products. S.A.

182.

       The Complaint asserts eleven causes of action under state and local

law, including strict liability failure to warn, negligence, public and pri-

vate nuisance, civil conspiracy, unjust enrichment, consumer fraud in vi-

olation of MCC § 2-25-090, deceptive practices in violation of MCC § 4-

276-470, and recovery under MCC § 1-20-020. S.A. 181-216. In its Com-

plaint, Plaintiff purported to disclaim “recovery or relief attributable to

injuries arising on federal property and those arising from Defendants’

provision of non-commercial, specialized fossil fuel products to the federal

government for military and national defense purposes.” S.A. 34. The

Complaint recognized, however, that Plaintiff’s recovery hinges on “quan-

tifying GHG pollution attributable to the Fossil Fuel Defendants’ prod-

ucts and conduct,” and that determining the “injuries to Chicago” re-

quires determining the “portion of the global atmospheric GHG concen-

trations” attributable to Defendants’ products and conduct—including

products created for, and conduct occurring, at the behest of federal offic-

ers. S.A. 74-75.




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     Defendants timely removed under the federal officer removal stat-

ute. S.A. 225. That statute guarantees a federal forum for those “acting

under” federal officers who seek to raise colorable federal defenses in a

civil action that “relat[es] to” their acts taken under color of federal au-

thority. 28 U.S.C. § 1442(a)(1).

     In their notice of removal, Defendants demonstrated that the stat-

utory requirements for removal are satisfied here. Defendants intro-

duced nearly one hundred exhibits—including unrefuted declarations

from two prominent historians and statements from two former Chair-

men of the Joint Chiefs of Staff—documenting Defendants’ work produc-

ing oil and gas for the federal government under close federal supervision.

See S.A. 218-308; see also S.A. 309-23. Defendants explained that this

action relates to those activities because Plaintiff’s claims “depend on De-

fendants’ production, promotion and/or sale of oil and gas that create

greenhouse gas emissions when combusted by end users.” S.A. 222-23.

Emissions are the pivotal link in the causal chain of Plaintiff’s alleged

injuries—indeed, if no emissions were released, Plaintiff would not have

suffered any of its alleged injuries at all. And because emissions become

well-mixed in the atmosphere and untraceable to their source, Plaintiff’s

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suit effectively seeks relief for a single, indivisible harm caused by a mul-

titude of sources. S.A. 290. This suit would thus either impose liability

for emissions that resulted from or relate to Defendants’ federally di-

rected activities or, at minimum, require a state court to decide vexing

causal questions about the extent to which Defendants’ federal activities

caused Plaintiff’s injuries. Defendants also explained that they intend to

raise multiple colorable federal defenses to liability, including the gov-

ernment-contractor defense, federal preclusion and preemption, and the

First Amendment. S.A. 292, 296.

      The district court, however, remanded the case, relying principally

on Plaintiff’s purported disclaimer of liability from Defendants’ federal

activities. Required Short Appendix (“App.”) 2, 10. The court recognized

that this Court had rejected a disclaimer in similar circumstances in

Baker, 962 F.3d 937, but it held that Baker is limited to circumstances

where a disclaimer “contradicts” the plaintiff’s theory of liability. Here,

in the district court’s view, there is no “contradiction between Plaintiff’s

disclaimer” of liability for production-related activities “and its deception-

focused theory of liability.” App. 11. But the district court disregarded

that under Baker, Plaintiff’s causes of action were necessarily

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intertwined with the pollution, rendering the disclaimer ineffective or at

least raising questions to be resolved by a federal court. Despite acknowl-

edging the principle that it “must” credit Defendants’ theory of the case

in assessing removal, the district court refused to do so here because the

emissions-based theory was purportedly “untethered” from the Com-

plaint’s allegations. App. 11, 23.

     The court’s flawed reliance on Plaintiff’s disclaimer infected its

analysis of the federal officer removal statute’s elements and its conclu-

sion that these elements were unsatisfied. The court first agreed with

Defendants that, under Baker, Defendants did act under federal officers

“[i]f the disclaimer were not effective.” App. 17 (“[T]he Court finds that

Defendants’ argument has merit.”). The court correctly recognized that

Baker held that “the defendants’ sale to the government of materials it

needed for war efforts was sufficient to satisfy the acting under require-

ment.” Id. As a result, the court agreed with Defendants that they acted

under federal officers because they (1) produced aviation fuel gas and op-

erated petroleum infrastructure during World War II and the Korean

War, (2) supply specialized fuels to the military, (3) operated the Elk Hills

Reserve, (4) produced oil and gas pursuant to the federal mineral

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exploitation and production regime created by the Outer Continental

Shelf Lands Act, and (5) supply oil and gas to the Strategic Petroleum

Reserve. App. 14. Despite finding that Defendants “acted under the fed-

eral government,” the court nonetheless incorrectly held that “Defend-

ants fail to satisfy the acting under element” because, in the court’s view,

“this case is about Defendants’ alleged misrepresentations,” not govern-

ment-supervised production activities that “led to or contributed to fossil

fuel emissions.” App. 19-20.

     As to the third prong of the test—whether this action “relate[s] to”

Defendants’ federal acts—the court reasoned that it is the “charged con-

duct,” not “plaintiff’s injuries,” that must relate to acts taken by Defend-

ants under federal direction. App. 22-23. According to the court, Plain-

tiff’s claims involve only deceptive advertising and speech about the dan-

gers of fossil fuels, not emissions stemming from Defendants’ oil and gas

production activities.

     Finally, the court deemed Defendants’ federal defenses irrelevant

because (given its earlier holdings) they did not “arise from any official

duties” and had “nothing to do with” the “allegedly deceptive acts.” App.

24-25. The court did not consider whether Defendants’ federal defenses

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were colorable, and the court cited no authority for its conclusion that

defenses must “arise from . . . official duties.” App. 25.

      This appeal timely followed.

                       SUMMARY OF ARGUMENT

      I.      This action is removable under the federal officer removal

statute, 28 U.S.C. § 1442(a). Plaintiff’s claim of injury causation neces-

sarily relates to Defendants’ oil and gas production and sales activities,

and a significant portion of those activities were performed under the di-

rection of federal officers. Because Defendants also have numerous col-

orable federal defenses, the district court has federal officer removal ju-

risdiction.

      A.      Defendants’ acts under the direction of federal officers were

pervasive. Defendants presented detailed allegations and an extensive

evidentiary record of numerous categories of activities undertaken at the

direction of federal officers: they supplied the federal government, includ-

ing the U.S. military, with highly specialized fuels under detailed con-

tracts subject to federal control, supervision, and compulsion; produced

oil and gas on federal lands subject to federal direction and control; oper-

ated federal oil reserves; supplied and managed the Strategic Petroleum


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Reserve; and produced oil and gas, operated government-owned facilities

and equipment, and constructed pipelines as agents for the federal gov-

ernment and military during wartime.

      B.    Plaintiff’s claims relate to the activities Defendants carried

out under color of federal authority. Because the statute requires only

that the plaintiff’s “civil action” “relat[e] to” Defendants’ federal acts, the

“relatedness” analysis is not limited to the particular conduct that the

plaintiff chooses to characterize as tortious. Rather, courts must also

consider the nature of the plaintiff’s theory of injury, which is part of the

plaintiff’s “civil action” no less than the conduct that purportedly triggers

liability. Injury causation is an essential element of many of Plaintiff’s

claims, including for strict liability failure to warn, negligence, and nui-

sance. Plaintiff alleges physical injuries stemming from global climate

change, which, it contends, resulted in part from Defendants’ production

and sale of fossil fuels. And because a substantial portion of those pro-

duction and sale activities were undertaken at the direction of federal

officers, Defendants have a right to a federal forum under the federal

officer removal statute. In short, Plaintiff’s claims relate to conduct that

the Defendants undertook at the direction of federal officers.

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     C.    Defendants have multiple colorable federal defenses. Defend-

ants plausibly alleged that Plaintiff’s claims are precluded and

preempted by federal law; that the government-contractor defense ap-

plies; and that Plaintiff’s claims are barred by structural constitutional

principles, the Commerce Clause, the foreign-affairs doctrine, the Due

Process Clause, and the First Amendment.

     II.   Plaintiff’s purported disclaimer does not change the analysis.

This Court’s precedent holds that a plaintiff cannot evade federal officer

removal by disclaiming liability from federally supervised activities while

pursuing claims based on a single, indivisible injury potentially attribut-

able to both federal and non-federal activities. Where federally directed

acts allegedly produced a pollutant that intermingled with the same pol-

lutant produced from other sources, the very need to identify the source

of the plaintiff’s alleged injury raises a causal question germane to the

adjudication of a defendant’s federal defenses. That authorizes removal

to federal court.

     Here, Plaintiff’s disclaimer is ineffective because it has attempted

to disclaim part of a single, indivisible injury. As the Supreme Court has

recognized, greenhouse gases, once emitted, “become well mixed in the

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atmosphere,” and one source’s emissions are indistinguishable from an-

other’s. Am. Elec. Power Co. v. Connecticut, 564 U.S. 410, 422 (2011)

(“AEP”) (citation omitted). Thus, Defendants showed in their notice of

removal that greenhouse gas emissions commingle in the atmosphere,

rendering emissions from various sources indistinguishable. Yet Plain-

tiff attempts to “both recover from [greenhouse gases emissions] but also

disclaim[s] government-controlled production” of activities that led to the

same emissions. App. 11.

     In crediting Plaintiff’s disclaimer, the district court erred by reject-

ing Defendants’ reasonable (and accurate) theory of the case—that Plain-

tiff’s claims turn on greenhouse gas emissions traceable to the combus-

tion of fossil-fuel products, not merely Defendants’ allegedly deceptive

advertising. The district court’s unduly narrow view of Plaintiff’s “claims”

fails on its own terms. And both this Court and the Supreme Court have

repeatedly instructed that, in assessing removal, courts must credit a de-

fendant’s reasonable theory of the case—not the plaintiff’s.

                       STANDARD OF REVIEW
     This Court reviews “the propriety of the removal of a state-court

action de novo.” People ex rel. Raoul v. 3M Co., 111 F.4th 846, 848 (7th


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Cir. 2024). Although the removing party bears the burden of establishing

federal jurisdiction, Betzner v. Boeing Co., 910 F.3d 1010, 1014 (7th Cir.

2018), the Court “credit[s] only” the removing party’s “theory” of the case

and must give it the “benefit of all reasonable inferences from the facts

alleged” in the notice of removal, Baker, 962 F.3d at 945, 947. The Court

reviews a defendant’s allegations in its notice of removal under federal

pleading standards. Betzner, 910 F.3d at 1015. Accordingly, the Court

must take as true all “plausible allegation[s]” of jurisdictional facts in a

defendant’s notice of removal. Dart Cherokee Basin Operating Co. v. Ow-

ens, 574 U.S. 81, 89 (2014).

                               ARGUMENT
      Federal subject matter jurisdiction exists under the federal officer

removal statute. By enacting the federal officer removal statute, Con-

gress “promise[d] a federal forum for any action against an ‘officer (or any

person acting under that officer) of the United States or of any agency

thereof, in an official or individual capacity, for or relating to any act un-

der color of such office.’” Baltimore, 593 U.S. at 234-35 (quoting 28 U.S.C.

§ 1442(a)(1)). A “defendant seeking removal based on this statute must

show the following: (1) it is a person within the meaning of the statute;


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(2) it is acting under the United States (or its agencies or officers); (3) it

has been sued for or relating to any act under color of such office; and (4)

it has a colorable federal defense to the plaintiff’s claim.” People ex rel.

Raoul v. 3M Co., 111 F.4th 846, 848 (7th Cir. 2024).

      “[T]he Supreme Court has made clear that courts must liberally

construe § 1442(a).” Baker, 962 F.3d at 941; see Watson v. Philip Morris

Cos., 551 U.S. 142, 147 (2007); Willingham, 395 U.S. at 407. Accordingly,

the usual rules for removal principles are inverted for the federal officer

removal statute. The well-pleaded complaint rule ordinarily enables a

plaintiff to have his “cause heard in state court” merely “by eschewing

claims based on federal law.” Holmes Grp. v. Vornado Air Circulation

Sys., Inc., 535 U.S. 826, 831 (2002) (internal quotation marks omitted).

But federal officer removal “is an exception to the well-pleaded complaint

rule,” allowing “suits against federal officers to be removed despite the

nonfederal cast of the complaint.” Kircher v. Putnam Funds Tr., 547 U.S.

633, 644 n.12 (2006) (cleaned up). The right to removal under Section

1442(a) is thus “absolute” when its requirements are met: the case may

be removed “regardless of whether the suit could originally have been

brought in a federal court.” Willingham, 395 U.S. at 406.

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    I.   The District Court Had Jurisdiction Under The Federal Of-
         ficer Removal Statute.

         Defendants satisfied each of Section 1442(a)’s elements. Defend-

ants properly removed this action because the federal government di-

rected Defendants to engage in activities relating to Plaintiff’s claims.

Defendants “act[ed] under the United States, its agencies, or its officers”;

Plaintiff’s claims relate to those acts “under color of federal authority”;

and Defendants have raised “colorable federal defense[s].” Baker, 962

F.3d at 941. The district court’s contrary holding misreads the statute,

misconstrues this Court’s precedent, and applies a “narrow, grudging in-

terpretation” of Section 1442(a) that the Supreme Court has repeatedly

cautioned against. Id. at 943.1

         A. Defendants Were “Acting Under” Federal Officers.

         Section 1442(a)’s “acting under” requirement requires a relation-

ship between the defendant and the government that “involves subjection,

guidance, or control” and “an effort to assist, or to help carry out, the du-

ties or tasks of the federal superior,” Watson, 551 U.S. at 151-52 (internal


1
   It is undisputed that Defendants are “persons” within the meaning of
the federal officer removal statute. See Ruppel v. CBS Corp., 701 F.3d
1176, 1181 (7th Cir. 2012) (corporations are “persons” under Section
1442(a)).
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quotation marks omitted), which is established here. Although “simple

compliance with” federal regulations does not suffice, a private contractor

“goes beyond” such compliance when it specifically helps “the Govern-

ment to produce an item that it needs.” Id. at 153. A textbook example

is “providing the Government with a product that it used to help conduct

a war,” id. at 153-54, or “assisting the federal government in building

warships,” Ruppel v. CBS Corp., 701 F.3d 1176, 1181 (7th Cir. 2012). An-

other is performing “basic governmental tasks” that, “in the absence of a

contract with a private firm, the Government itself would have had to

perform.” Watson, 551 U.S. at 154. A private party and the government

form the “necessary relationship” to satisfy the acting-under standard

when the government supplies “detailed specifications” for a private com-

pany’s production of materials under “compulsion to provide the product

to the government’s specifications.” Baker, 962 F.3d at 943.

     This Court’s decision in Baker provides controlling guidance on how

to apply the “acting under” prong of the federal-officer removal statute.

There, residents of a housing complex sued nearby chemical manufactur-

ing companies for alleged contamination of soil with hazardous sub-

stances like lead and arsenic.       962 F.3d at 939-40.       The chemical

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companies removed the case to federal court on the grounds that, during

World War II, “the United States government directed them to produce

certain materials [including lead] for the military, supervised distribu-

tion of these goods, and controlled their ultimate usage.” Id. at 939-40.

This Court held that removal was proper because the companies acted

under federal authority by “provid[ing] the federal government with ma-

terials that it needed to stay in the fight at home and abroad,” and with-

out which “the government would have had to manufacture the relevant

items on its own.” Id. at 942.

     This case resembles Baker in every way that matters. Here, too,

Defendants “help[ed] the Government to produce an item that it needs”—

not only for war but beyond. Id. (quoting Watson, 551 U.S. at 153). De-

fendants stepped into the government’s shoes and performed essential

government functions subject to the government’s direction. Defendants

supplied the federal government and U.S. military with highly special-

ized fuels under detailed contracts subject to federal control, supervision,

and compulsion; produced oil and gas on federal lands subject to federal

direction and control; operated federal oil reserves; supplied and man-

aged the Strategic Petroleum Reserve; and produced oil and gas, operated

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government-owned facilities and equipment, and constructed pipelines

as agents for the federal government and military during wartime.

      1. Defendants’ activities here amply satisfy the acting-under stand-

ard. The U.S. Department of Defense (“DOD”) is the single largest con-

sumer of energy in the United States, and one of the world’s largest con-

sumers of petroleum fuels. S.A. 242-43; see S.A. 433-40. As two former

Chairmen of the Joint Chiefs of Staff explained, the “history of the Fed-

eral Government’s control and direction of the production and sale of gas-

oline and diesel to ensure that the military is ‘deployment-ready’” spans

“more than a century.” S.A. 242-43. “Because armed forces have used

petroleum-based fuels since the 1910s, oil companies have been essential

military contractors, throughout the last century.” S.A. 327. The “U.S.

government has controlled and directed oil companies in order to secure

and expand fuel supplies for its military forces and those of its allies, both

in wartime and in peacetime.” Id. Defendants’ activities encompass five

distinct categories of acts undertaken pursuant to federal direction: (1)

provision of fuel during World War II and the Korean War, (2) provision

of specialized fuels under military direction, (3) operation of Elk Hills

Reserve in the employ of the U.S. Navy, (4) developing mineral resources

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on federal law, and (5) supplying and managing the strategic petroleum

reserve. Any one of these suffices to establish that Defendants acted un-

der federal officers and together leave no doubt that the standard is sat-

isfied here.

      Provision of Fuel During World War II and Korean War. During

World War II, the United States pursued full production of its oil reserves

and created agencies—such as the Petroleum Administration for War

(“PAW”)—to control the petroleum industry, including Defendants’ pre-

decessors and affiliates. The federal government built refineries and di-

rected the production of certain products, and it managed scarce re-

sources for the war effort. As Senator O’Mahoney, Chairman of the Spe-

cial Committee Investigating Petroleum Resources, put it in 1945: “No

one who knows even the slightest bit about what the petroleum industry

contributed to the war can fail to understand that it was, without the

slightest doubt, one of the most effective arms of this Government . . . in

bringing about a victory.” S.A. 378 (emphasis added).

      The federal government exercised extraordinary control over De-

fendants during wartime to guarantee the supply of oil and petroleum

fuels, such as high-octane aviation gasoline (“avgas”). As courts have

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recognized, “[b]ecause avgas was critical to the war effort, the United

States government exercised significant control over the means of its pro-

duction during World War II.” United States v. Shell Oil Co., 294 F.3d

1045, 1049 (9th Cir. 2002). “PAW told the refiners what to make, how

much of it to make, and what quality.” Shell Oil Co. v. United States, 751

F.3d 1282, 1286 (Fed. Cir. 2014). Federal agencies directed oil explora-

tion activities, the construction of refining facilities, and the allocation of

raw materials. S.A. 238-39, 389, 394, 401-402. They issued production

orders, entered into contracts giving extraordinary control to federal of-

ficers, and “programmed operations to meet new demands, changed con-

ditions, and emergencies.” S.A. 389. None of those directives was volun-

tary. See Exxon Mobil Corp. v. United States, 2020 WL 5573048, at *11

(S.D. Tex. Sept. 16, 2020) (finding that private refiners had “no choice”

but to comply with the federal officers’ direction); S.A. 427 (PAW main-

tained “disciplinary measures” for noncompliance, including “restricting

transportation, reducing crude oil supplies, and withholding priority as-

sistance”). Put simply, “[t]he government . . . used [its] authority to con-

trol” Defendant’s “operations.” Exxon, 2020 WL 5573048, at *14; see also

S.A. 410-13.       Later, during the Korean War, the Petroleum

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Administration for Defense performed much the same function as PAW.

See S.A. 241-42; see also Exxon, 2020 WL 5573048, at *15.2

     Defendants also acted under the federal government by operating

and managing government-owned or government-funded petroleum-pro-

duction facilities. During World War II, the government built “dozens of

large government-owned industrial plants” that were “managed by pri-

vate companies under government direction.”          S.A. 340-41 (emphasis

added). “The U.S. government enlisted oil companies,” including Defend-

ants’ predecessors, “to operate government-owned industrial equip-

ment . . . [in order] to comply with urgent government orders.” S.A. 341-

42. These “oil companies were not merely top World War II prime con-

tractors, but also served as government-designated operators of govern-

ment-owned industrial facilities” or government-owned equipment

within industrial facilities. S.A. 346-47. And Defendants also acted un-

der federal officers in constructing and operating the Inch Lines



 2
    Removal would be warranted even if Defendants provided “mere as-
sistance” to the federal government, without any “legal duty” to do so.
This Court has found “no authority for the suggestion that a voluntary
relationship somehow voids the application of the removal statute.”
Baker, 962 F.3d at 942 n.1 (quoting Isaacson v. Dow Chem. Co., 517 F.3d
129, 138 (2d Cir. 2008)).
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(pipelines extending from Texas to New Jersey) “under contracts” and “as

agent[s]” for the federal government, bringing hundreds of millions of

barrels of oil and refined products for use and combustion in the cross-

Atlantic fronts during World War II. Schmitt v. War Emergency Pipelines,

Inc., 175 F.2d 335, 335 (8th Cir. 1949).

        In short, the relationship between Defendants and the federal gov-

ernment during World War II and the Korean War involved detailed di-

rectives for production and distribution of oil, under federal supervision

and backed by government coercion, not to mention the operation and

management of government-owned oil facilities under government direc-

tion.

        Provision of Specialized Fuels Under Military Direction. To this day,

Defendants continue to produce and supply highly specialized fuels that

must conform to exact DOD specifications to meet the U.S. military’s

unique operational needs. U.S. Navy Captain Matthew D. Holman re-

cently explained that “[f]uel is truly the lifeblood of the full range of De-

partment of Defense (DoD) capabilities, and, as such, must be available

on specification, on demand, on time, every time.” S.A. 494. To meet

those demands, the Department has for decades worked “hand-in-hand”

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with “contractors” like Defendants “to deliver fuel to every corner of the

world, ashore and afloat.” Id. The military has “continued to rely on oil

companies to supply it under contract with specialty fuels, such as JP-5

jet aviation fuel and other jet fuels, F-76 marine diesel, and Navy Special

Fuel.” S.A. 366-67.

     During the Cold War, for instance, Shell Oil Company developed

and produced specialized jet fuel to meet the unique performance require-

ments of the U-2 spy plane and later the SR-71 Blackbird and its prede-

cessor, the OXCART program. S.A. 246. These fuels involved special

processes, testing and inspection requirements, facilities, and security

restrictions to support these unique and highly specialized military air-

frames. Id. Similarly, BP entities have contracted with the Defense Lo-

gistics Agency (“DLA”) to provide a significant quantity of specialized

military fuels over decades. BP entities entered into approximately 25

contracts with the DLA to provide approximately 1.5 billion gallons of

specialized military fuels, such as JP-5, JP-8, and F-76. S.A. 572. The

Department of Defense exerted significant control over the BP entities in

fulfilling these contracts, seeking to ensure that these fuels met specific

performance requirements. See S.A. 248, 806, 838-40. To meet these

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unique operational needs, DLA required that the fuels contain express

amounts of “military unique additives that are required by military

weapon systems.” S.A. 247-49, 560. These fuel contracts are far more

specialized and prescriptive than contractual requirements for fuel in-

tended for consumer-type vehicles. S.A. 248-49. DOD specifications also

required the BP entities to conform the fuels to other specific chemical

and physical requirements that are essential to the performance of the

relevant military function. S.A. 250.

     Federal officers have thus directed Defendants for decades to help

the government by providing specialized, non-commercial grade fuels and

services that are essential to the national economy and security—func-

tions the government would have needed to perform itself absent Defend-

ants’ assistance. These were not arm’s-length transactions of widely

available commercial products; these specialized military grade fuels

have no commercial purpose or use at all. As the former Chairmen of the

Joint Chiefs of Staff explained, “the Federal Government has both incen-

tivized, directed, and contracted with Defendants to obtain oil and gas

products,” and “[a] substantial portion of the oil and gas used by the

United States military are non-commercial grade fuels that are

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developed . . . under the oversight and direction of military officials.” S.A.

470 (emphasis added). Far from “typical commercial agreements,” the

government contracts required Defendants “to supply fuels with unique

additives to achieve important objectives.”         S.A. 484.     This in turn

“provid[ed] the Government with a product that it use[s] to help conduct

a war,” Watson, 551 U.S. at 154, and “that it need[s] to stay in the fight

at home and abroad,” Baker, 962 F.3d at 942.

      In short, as Defendants’ experts explained, “the U.S. government

has controlled and directed oil companies in order to secure and expand

fuel supplies for its military forces and those of its allies, both in wartime

and in peacetime,” by employing “direct orders, government ownership,

and national controls.” S.A. 327-28.

      Operation of Elk Hills Reserve “In the Employ” of the U.S. Navy.

Subject to federal direction, a Chevron predecessor, Standard Oil of Cal-

ifornia, played a significant role in operating the Elk Hills Reserve in

California for over three decades in the mid-twentieth century. See S.A.

251-59. The Elk Hills Reserve was a petroleum reserve created by Pres-

ident Taft in 1912 to preserve oil in the ground for national emergencies.

S.A. 251, 1106-11. Standard Oil operated the U.S. Navy’s portion of the

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oil reserve according to an Operating Agreement that put Standard Oil

“in the employ” of the Navy and made it “responsible to the Secretary

thereof.” S.A. 1278 (emphasis added).

     Based on its right to operate the reserve, the Navy had the option

to produce oil directly or hire a contractor for the job. “The ‘Navy chose

to operate the reserve through a contractor rather than with its own per-

sonnel.’” S.A. 255-56. Standard Oil “was awarded the contract, and con-

tinued to operate [Elk Hills] [for the Navy] for the next 31 years.” Id.

Standard Oil’s operation and production at Elk Hills for the Navy were

subject to substantial supervision by Navy officers. S.A. 257-58. Naval

officers directed Standard Oil to conduct operations to further national

policy. For example, the reserve produced up to 65,000 barrels per day

in 1945 “to address fuel shortages and World War II military needs.” S.A.

256-57. And in November 1974, the Navy directed Standard Oil to in-

crease production to 400,000 barrels per day to meet the unfolding energy

crisis, advising Standard Oil that “you are in the employ of the Navy and

have been tasked with performing a function which is within the exclusive

control of the Secretary of the Navy.” S.A. 1299 (emphases added); see S.A.

256-57.

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     Developing Mineral Resources on Federal Land. Defendants have

produced oil and gas pursuant to the federal mineral exploitation and

production regime on the Outer Continental Shelf (“OCS”), as well as on

federal lands onshore. See S.A. 262-79. Defendants acted on behalf of

the federal government to extract federally owned mineral resources un-

der the federal government’s close direction and supervision to assist the

government in fulfilling the basic (and critical) government objectives of

ensuring sufficient domestic supplies of oil and gas to protect the nation’s

economic, security, and foreign-policy interests. These OCS leases are

“not merely commercial transactions between the federal government and

the oil companies. They reflect the creation of a valuable national secu-

rity asset for the United States over time.” S.A. 1361-63 (emphasis

added). Under federal law, the OCS “is a vital national resource reserve

held by the Federal Government for the public, which should be made

available for expeditious and orderly development” in “a manner which

is consistent with . . . national needs.” 43 U.S.C. § 1332(3).

     The oil and gas resources on the OCS are owned by the United

States. Accordingly, when Congress determined that the government

had a policy need to extract those resources, its only options were to

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assign that task to federal employees or obtain the services of private

parties to achieve the same goals. It chose the second option, “procur[ing]

the services of oil and gas firms to develop urgently needed energy re-

sources on federal offshore lands that the federal government was unable

to do on its own.” S.A. 1361-63. But the federal government “dictated

the terms, locations, methods, and rates of hydrocarbon production on

the OCS” in order to advance federal interests. S.A. 1364-65. Federal

“supervisors” exerted substantial control and oversight over Defendants’

operations on the OCS, with complete authority to control and dictate the

rate of production from OCS wells, and additional powers to direct how

oil and gas resources would be extracted and sold. S.A. 1375-85. Defend-

ants’ development of mineral resources on the Outer Continental Shelf

has thus “filled a national government need” for “more than six decades,”

S.A. 1361-63, and federal officials “supervised, directed, and controlled

the rate of oil and gas production,” S.A. 1405-06.

     Similarly, Defendants develop mineral resources on federal lands

onshore pursuant to leases offered by the Bureau of Land Management.

For these leases, too, the United States “reserves [the] right to specify

rates of development and production in the public interest.” S.A. 1457

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(emphasis added). The leases permit the federal government “‘to ensure

that production is sold at reasonable prices and to prevent monopoly,’” to

determine the value of production, and to otherwise exercise extensive

supervision and control over the lessees. S.A. 278-79.

     In sum, the federal government has enlisted Defendants as its

agents to extract the federal government’s oil, gas, and minerals from the

ground and supply the domestic market to serve federal governmental

interests.   See S.A. 1364-65 (explaining that the federal government

“viewed these firms as agents of a larger, more long-range energy strat-

egy to increase domestic oil and gas reserves”).

     Supplying and Managing the Strategic Petroleum Reserve. In re-

sponse to the 1970s oil embargoes, Congress created the Strategic Petro-

leum Reserve “to reduce the impact of disruptions in supplies of petro-

leum products.” 42 U.S.C. § 6231(b); see also S.A. 279-80. Defendants

“acted under” federal officers by supplying federally owned oil and man-

aging the Strategic Petroleum Reserve for the government. See S.A. 280-

81. The Strategic Petroleum Reserve subjects Defendants to the federal

government’s supervision and control, including in the event the Presi-

dent calls for an emergency drawdown, under which the reserve oil can

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be used to address national crises. S.A. 282-83. The United States exer-

cised this emergency control to draw down the reserve in response to

Hurricane Katrina in 2005 and disruptions to oil supply in Libya in 2011.

Id.; S.A. 1563-79. By supplying and managing the Strategic Petroleum

Reserve, Defendants engaged in “an effort to assist, or to help carry out”

the federal government’s task of ensuring energy security. Watson, 551

U.S. at 152 (emphases added).

      In short, Defendants acted in an “effort to assist, or to help carry

out, the duties or tasks of the federal superior” and “in the absence of . . .

contract[s] with . . . [these] private firm[s], the Government itself would

have had to perform” such tasks. Watson, 551 U.S. at 152, 154.

      2. Even the district court “agree[d]” that Baker controls the “acting

under” analysis: “Baker’s holding” is that “defendants’ sale to the govern-

ment of materials it needed for war efforts was sufficient to satisfy the

acting under requirement.” App. 17. That should have been the end of

the matter. But the court perplexingly proceeded to conclude that the

acting-under requirement was not met because (1) “[Plaintiff’s] dis-

claimer excludes injuries” related to Defendants’ work under the super-

vision of federal officers, and (2) “the Complaint takes issue with

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Defendants’ alleged campaign of deception and misrepresentation in the

1980s,” not any of Defendants’ federal work pertaining to oil and gas pro-

duction. App. 15, 18-19.

      That analysis mistakenly confuses an analysis of Section 1442(a)’s

“acting under” requirement with other aspects of the Section 1442 in-

quiry—namely, whether Plaintiff’s disclaimer is effective, and whether

Defendants’ federally supervised activities “relate to” Plaintiff’s civil ac-

tion. Neither consideration bears on the “acting under” requirement,

which asks whether a defendant acted under a federal officer, irrespec-

tive of the plaintiffs’ claims.

      The district court also wrongly concluded that because some of De-

fendants’ federally supervised activities predated Plaintiff’s alleged dis-

information campaigns—such as their contributions during World War

II and the Korean War—they could not support a finding that Defendants

were acting under a federal officer.3 App. 18-19. This reasoning, too,

confuses the “acting under” requirement with whether such activities “re-

late to” Plaintiff’s claims. The timing of Defendants’ wartime conduct as


3
  In any event, it is undisputed that a significant portion of Defendants’
federally supervised conduct occurred after the so-called disinformation
campaigns alleged by the Plaintiff. See, e.g., App. 245-51.
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it relates to the allegedly deceptive statements has nothing to do with

whether Defendant’s conduct was performed at the direction of the fed-

eral government.

     To the extent that the district court was instead concluding that the

wartime conduct was not related to Plaintiff’s claim, that was also mis-

taken. Indeed, the district court’s analysis misses the mark by failing to

consider Plaintiff’s theories of causation and injury. Plaintiff alleges its

injuries result from the cumulative impact of all global emissions, includ-

ing those released from oil and gas produced by Defendants during World

War II and the Korean War. Indeed, Plaintiff cites the rapid rise in fossil-

fuel emissions “since the mid-twentieth century” as causing “a corre-

spondingly sharp rise in atmospheric concentration of CO2.” S.A. 71; see

also S.A. 72 (alleging “[a]s greenhouse gases accumulate in the atmos-

phere, . . . [the] accumulation and” “associated disruption of the Earth’s

energy balance have a myriad of environmental and physical conse-

quences”). And because greenhouse gases “become well mixed in the at-

mosphere” once emitted, AEP, 564 U.S. at 422 (citation omitted), and re-

main there “for potentially thousands of years,” S.A. 127 (Compl. ¶ 143),

the emissions from these wartime periods are indistinguishable from and

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cumulative with all later emissions. The district court’s opinion again

amounts to a failure to credit Defendants’ theory of the case. And im-

portantly, it contradicts this Court’s precedent, which “see[s] no support

in the statute or precedent for [a] rule that a removing defendant must

operate under government orders for most of the relevant time frame.”

Baker, 962 F.3d at 945.

     B.    Plaintiff’s Suit “Relat[es] To” Acts Defendants Per-
           formed Under Federal Officers.

     This “civil action” is “for or relating to a[n] act under color of [federal]

office.” 28 U.S.C. § 1442(a)(1). The federal officer removal statute re-

quires a connection between a Defendant’s federal conduct and the law-

suit as a whole. And that connection is present here. After all, Plaintiff’s

alleged injuries stem from greenhouse gas emissions which are attribut-

able to the Defendant’s federal act, and thus “relat[e] to” Defendant’s fed-

erally directed conduct. The district court erred in holding otherwise.

     1. By its terms, the federal officer removal statute requires a con-

nection between federally supervised acts and the “civil action” as a

whole—not merely the specific breach of duty alleged by the plaintiff. 28

U.S.C. § 1442(a). The term “action” encompasses the entire “judicial pro-

ceeding” and is “synonymous” with “suit.” Action, Black’s Law Dictionary
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(12th ed. 2024); see California Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc.,

582 U.S. 497, 514 (2017) (same); Brownback v. King, 592 U.S. 209, 220

(2021) (Sotomayor, J., concurring) (“An ‘action’ refers to the whole of the

lawsuit.”). Accordingly, the federal officer removal statute reaches any

suit that has a “connection or association” with a defendant’s federally

directed conduct. Baker, 962 F.3d at 944; see Latiolais v. Huntington

Ingalls, Inc., 951 F.3d 286, 296 (5th Cir. 2020) (en banc) (“Congress ap-

plied ‘relating to’ to all ‘civil action[s]’” so “any civil action that is con-

nected or associated with an act under color of federal office may be re-

moved.”). As this Court explained in Baker, “the statute does not require

that the [lawsuit] must be for the very acts” that Defendants conducted

under federal authority; a removing party need not allege “that the com-

plained-of conduct itself was at the behest of a federal agency.” 962 F.3d

at 944-45 (quoting Maryland v. Soper, 270 U.S. 9, 33 (1926)); id. at 942

n.1 (quoting In re Commonwealth’s Motion to Appoint Couns. Against or

Directed to Def. Ass’n of Phila., 790 F.3d 457, 473 (3d Cir. 2015)). All that

is required is some “connection or association” between the civil action

and Defendants’ federal conduct. Id. at 944.




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     Because a plaintiff commences a “civil action” by filing a complaint,

Fed. R. Civ. P. 3, the Court must look to the entire complaint—including

the claims in their entirety, and not only the specific allegations of an

alleged breach of duty—to determine whether the requisite connection

exists. Here, Plaintiff’s purported injuries necessarily form part of its

claims. A claim is “the set of operative facts that produce an assertable

right in court and create an entitlement to a remedy.” St. Augustine Sch.

v. Underly, 78 F.4th 349, 352 (7th Cir. 2023) (emphasis added); Roberts

v. Smith & Wesson Brands, Inc., 98 F.4th 810, 815 (7th Cir. 2024) (same).

That is why courts have defined “[a] damage claim” as “a means to redress

an injury.” Cardenas v. Smith, 733 F.2d 909, 914 (D.C. Cir. 1984) (em-

phasis added); cf. Sierra v. City of Hallandale Beach, Fla., 996 F.3d 1110,

1122 n.5 (11th Cir. 2021) (Newsom, J., concurring) (explaining usage of

related term “cause of action” as “refer[ring] to the existence of both a

legal right and a corresponding legal remedy” (emphases added)).

     Causation and injury are necessary elements of Plaintiff’s claims

for nuisance, strict liability failure to warn, and negligence. See S.A. 181-

216. “[T]o constitute a nuisance, the act . . . complained about must cause

some injury.” Belmar Drive-In Theatre Co. v. Ill. State Toll Highway

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Comm’n, 216 N.E.2d 788, 790 (Ill. 1966) (emphasis added). An actionable

claim for failure to warn likewise requires a showing that “the defendant

manufacturer failed to warn plaintiff of th[e] danger” that “caused the

injury.” Woodill v. Parke Davis & Co., 402 N.E.2d 194, 198 (Ill. 1980)

(emphasis added). And a “plaintiff in a negligence action must show . . .

proximate causation and compensable damages.” Wiker v. Pieprzyca-

Berkes, 732 N.E.2d 92, 96 (Ill. App. 2000) (emphasis added) (citing Ogle

v. Fuiten, 445 N.E.2d 1344, 1347 (Ill. App. Ct. 1983)). “Because Section

1442(a)(1) authorizes removal of the entire action even if only one of the

controversies it raises involves a federal officer,” any one of these claims

would support removal. 14 Wright & Miller, Federal Practice & Proce-

dure § 3726 (4th ed. 2009); see Ruppel, 701 F.3d at 1182.

     Precedent confirms this principle. The Supreme Court’s decision in

Jefferson County v. Acker makes clear that Section 1442(a)’s relatedness

requirement does not turn narrowly on the allegedly duty-breaching acts

on which the plaintiff focuses. 527 U.S. 423 (1999). That case involved

an Alabama county’s effort to collect an occupational tax from two federal

judges who held court in the county. Id. at 427. After the county initiated

a collection suit in state court, the judges removed the case, arguing that

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the tax impermissibly burdened the performance of federal judicial du-

ties. Id. A four-Justice minority would have held that removal was im-

proper because the suit was based only on the judges’ “having refused to

pay the tax,” not their “performance of their official duties.” Id. at 432.

But the majority was unpersuaded. It was “not just the [defendant’s]

refusal to pay [taxes],” but rather, all “[t]he circumstances that gave rise

to the tax liability”—which “encompass[ed] holding court in the county

and receiving income for that activity”—that “‘constitute[d] the basis’ for

the tax collection lawsuits at issue.” Id. at 433 (citing Willingham v. Mor-

gan, 395 U.S. 402, 409 (1969)). Similarly here, “the circumstances giving

rise” to Defendants’ alleged liability is not just their alleged deception,

but also their extraction and sale of fossil fuels that allegedly harmed

Plaintiff. S.A. 30, 31.

     This Court’s decision in Baker followed the same logic. There, the

plaintiffs argued that they sought to impose liability only for pollution

from the chemical companies’ general consumer operations, while the

companies invoked federal officer removal on the ground that the action

sought to impose liability in part for pollution traceable to their produc-

tion of goods for the federal government during World War II. Baker, 962

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F.3d at 940-41. The plaintiffs contended that the relatedness require-

ment was not satisfied because the companies could not show that their

federal work caused the plaintiffs’ injuries. See id. at 943. This Court

disagreed: any “questions about whether the Companies’ pollution that

allegedly caused the Residents’ injuries flowed from the Companies’ spe-

cific wartime production for the federal government or from their more

general manufacturing operations outside those confines” were “merits

questions that a federal court should decide.” Id. at 944 (emphasis omit-

ted).

        Here, too, Plaintiff’s suit squarely relates to Defendants’ federal

work. Plaintiff alleges that because Defendants “extracted and sold fossil

fuel products,” greenhouse gas emissions have increased, which has

“brought about devastating climate change impacts to the City of Chi-

cago.” S.A. 30, 31. It is the “negative impacts of fossil fuel consumption”

that Plaintiff alleges have “warm[ed] the planet and change[d] our cli-

mate.” S.A. 32 (emphasis added). According to Plaintiff, Defendants’

purported conduct “drove fossil fuel consumption,” causing an “increase

in anthropogenic GHG emissions and accelerated global warming” that

have resulted in “devastating consequences to the City and its people.”

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S.A. 33. And all of Plaintiff’s alleged injuries stem from so-called “Cli-

mate-Related Harms,” based on the “release [of] greenhouse gases into

the atmosphere” from the sale and use of fossil-fuel products. S.A. 182.

At bottom, “[plaintiff] identifies no ‘environmental harms’ . . . other than

those caused by emissions.” City of New York v. Chevron Corp., 993 F.3d

81, 97 n.8 (2d Cir. 2021); see, e.g., S.A. 127.

      Given the source of Plaintiff’s alleged injuries, there is an obvious

“connection or association” between Plaintiff’s claims and Defendants’

federal work, Baker, 962 F.3d at 944. Plaintiff seeks relief for alleged

impacts caused by greenhouse gas emissions that have intermingled in

the environment due in part to Defendants’ federally directed conduct.

Plaintiff does not dispute—indeed, it affirmatively alleges—that it must

“quantif[y] GHG pollution attributable to the Fossil Fuel Defendants’

products and conduct” to recover. See S.A. 74. Yet it offers no ready

means of disentangling emissions attributable to different sources. And

just as in Baker, whether Plaintiff’s “injuries were caused by [Defendants’]

wartime production for the government” is a “merits question” that a fed-

eral court must determine. Baker, 962 F.3d at 943-44. Plaintiff’s action




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therefore arises out of, and at a minimum relates to, Defendants’ feder-

ally directed conduct.

     2. In reaching a contrary conclusion, the district court erred in its

construction of the federal officer removal statute and its application of

controlling precedent.

     The court first underscored that “Defendants in this case do not ar-

gue that the government required them to market their products in any

specific way.” App. 19-20. But that analysis commits the exact error that

Baker rejects—requiring a removing defendant to show that “the com-

plained-of conduct itself was at the behest of a federal agency.” 962 F.3d

at 944 (emphasis added). And “demanding a showing of a specific gov-

ernment direction . . . [goes] beyond what § 1442(a)(1) requires”—namely,

that the action merely “relate to” federally supervised conduct. Sawyer

v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir. 2017); see also, e.g.,

Papp v. Fore-Kast Sales Co., 842 F.3d 805, 813 (3d Cir. 2016).4



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   On June 16, the Supreme Court granted certiorari to consider whether
a “contractual-directive test” survived Congress’s amendment of the fed-
eral officer removal statute in 2011. See Chevron U.S.A. Inc. v.
Plaquemines Parish, No. 24-813, 2025 WL 1678985 (U.S. June 16, 2025)
(mem.). The overwhelming majority of courts of appeals—including this
Court—reject such a requirement.
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      The district court incorrectly asserted that federal officer removal

may not be “based on a relation to a plaintiff’s injuries rather than to the

claims themselves.” App. 22 (emphases added). According to the court,

federal officer removal turns on the “complained-of conduct,” not the

“mechanism of injury.” App. 21. But this Court’s decision in Baker di-

rectly forecloses that rationale: Baker expressly focused on “the Residents’

injuries” and “whether a connection or association exists between the Res-

idents’ health conditions and their alleged exposure to federally dictated

chemicals or others.” 962 F.3d at 944 (emphasis added).

      As explained above, moreover, the district court’s reasoning contra-

dicts the statutory text, which turns on the relationship between the

“civil action” and Defendants’ federal acts. 28 U.S.C. § 1442(a). The dis-

trict court’s decision assumes an illusory distinction between Plaintiff’s

claims and its injuries. In reality, Plaintiff’s theory of injury is an essen-

tial element of its claims. See supra 40-46. Even if the relevant inquiry

turned on “charged conduct,” App. 20 (quoting Ruppel, 701 F.3d at 1181),

the production and use of fossil fuels are conduct essential to Plaintiff’s

claims, because, under Plaintiff’s theory, they are the mechanism of

Plaintiff’s alleged injuries and form the basis for the relief Plaintiff seeks.

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The Third Circuit expressly recognized as much in an analogous climate-

change suit, City of Hoboken v. Chevron Corp., 45 F.4th 699 (3d Cir. 2022).

In that case, the City of Hoboken similarly contended that Defendants’

oil production activities on federal land did not relate to the suit by

“cast[ing] their suits as just about misrepresentations.” Id. at 712. The

Third Circuit rejected that argument: There, as here, the complaint

“charge[d] the oil companies with not just misrepresentations, but also . . .

nuisances,” which “are caused by burning fossil fuels and emitting carbon

dioxide.” Id.; see S.A. 143-46, 195-203 (Counts IV-VI).

     The district court’s singular focus on the defendant’s allegedly tor-

tious conduct also undercuts the federal officer removal statute’s pur-

pose—to provide a federal forum “when particular litigation implicates a

cognizable federal interest.” Gov’t of Puerto Rico v. Express Scripts, Inc.,

119 F.4th 174, 185 (1st Cir. 2024). Where the parties dispute causation

questions about that federal interest, individuals acting at the govern-

ment’s direction “should have the opportunity to present their version of

the facts to a federal, not a state, court.” Willingham, 395 U.S. at 409.

Thus, Baker teaches that the very act of parsing injuries traceable to gov-

ernmental versus non-governmental activities can implicate federal

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interests no less than the need to parse actionable conduct traceable to

governmental versus non-governmental activities. In holding otherwise,

the district court refused to give Section 1442(a) the “liberal[]” construc-

tion the Supreme Court and this Court have required. Baker, 962 F.3d

at 941.

     Finally, the district court mistakenly deferred to Plaintiff’s charac-

terization of its case as resting solely on deception, rather than also in-

cluding emissions. This was error under any reasonable reading of the

complaint. But the district court was doubly wrong for disregarding this

Court’s directive to credit only Defendants’ “reasonable theor[y] of this

case” in assessing removal. Baker, 962 F.3d at 947 (citing Acker, 527 U.S.

at 432). And Defendants’ emissions-based theory of the case is, at a min-

imum, reasonable. It is also undeniably accurate. In dismissing nearly

identical climate-tort claims, the Second Circuit held that the case con-

cerned emissions: “[Plaintiff] intends to hold the Producers liable . . . for

the effects of emissions made around the globe over the past several hun-

dred years.” City of New York, 993 F.3d at 92. It is “precisely because

fossil fuels emit greenhouse gases—which collectively ‘exacerbate global

warming’—that [plaintiff] is seeking damages.”                Id. at 91.     And

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“[plaintiff’s] focus on [an] ‘earlier moment’ in the global warming lifecy-

cle”—here, the advertising and sale of fossil fuels—“is merely artful

pleading and does not change the substance of its claims.” Id. at 97.

Other courts have recognized the same. See, e.g., City of Hoboken, 45

F.4th at 712 (rejecting effort “to cast th[e] suits as just about misrepre-

sentations”).

     C.    Defendants Have Several Colorable Defenses

     1. Defendants have numerous colorable defenses. Because this re-

quirement “encapsulates Congress’s desire to have federal defenses liti-

gated in federal forums,” a defendant needs to only show that its defense

is “colorable.” Ruppel, 701 F.3d at 1182. In other words, Defendants do

not bear a heavy burden—they need not “win [their] case before [they]

can have it removed.” Acker, 527 U.S. at 431. And here, Defendants’

defenses are far more than colorable under any standard.

     First, Defendants have a colorable government-contractor defense.

S.A. 292-93. This defense applies against state-law products liability

claims when (1) the suit involves a unique federal interest and (2) holding

the defendant liable under state law would present a significant conflict

with federal policy. See Boyle v. United Techs. Corp., 487 U.S. 500, 504,


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507-08 (1988). Here, Defendants’ supplying fuel to the military and en-

suring an adequate domestic supply of oil and gas implicated core federal

interests. See id. at 512 (holding federal contractor immune from suit

over “a particular feature of military equipment”); Yearsley v. W.A. Ross

Constr. Co., 309 U.S. 18, 21-22 (1940) (holding federal contractors im-

mune from damages for the construction of dikes on the Missouri River

under federal direction). “[T]he judiciary should hesitate to intervene in

matters of military procurement contracts” because “a higher risk of lia-

bility for government contractors would increase costs to the government

while decreasing the supply of contractors and research and development

in military equipment.” Ripley v. Foster Wheeler LLC, 841 F.3d 207, 210

(4th Cir. 2016). Taking the well-pleaded allegations in Defendants’ no-

tice of removal as true, Defendants have shown a colorable federal-con-

tractor defense.

     Second, under our federal constitutional structure, state law is not

competent to govern claims that seek relief for injuries attributable to

global emissions, and any remedies under federal law have been dis-

placed by the CAA. See AEP, 564 U.S. at 421-23 (“the basic scheme of

the Constitution . . . demands” that “federal common law” govern these

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types of disputes, and the CAA “displaced” any remedies for such suits);

Illinois v. City of Milwaukee, 406 U.S. 91, 103, 105 n.6 (1972) (the “basic

interests of federalism” embodied in the Constitution “demand[]” that

federal law govern disputes involving “air and water in their ambient or

interstate aspects”). The Second Circuit has squarely so held in an anal-

ogous climate-change case. City of New York, 993 F.3d at 92. Other

courts have followed suit. Indeed, the Pennsylvania Court of Common

Pleas recently noted in dismissing one of these cases that there is “a

growing chorus of state and federal courts across the United States, sing-

ing from the same hymnal, in concluding that the claims raised by [cli-

mate-change plaintiffs] are not judiciable by any state court” and that

“our federal structure does not allow . . . any State’s law[] to address

[these types of climate-change] claims.”     Bucks Cnty. v. BP P.L.C., No.

2024-01836, at *11–12 (Pa. Ct. Comm. Pleas May 16, 2025) (citing City

of New York; City of Oakland v. BP P.L.C., 325 F. Supp. 3d 1017 (N.D.

Cal. 2018), vacated on other grounds, 960 F.3d 570 (9th Cir. 2020); State

ex rel. Jennings v. BP Am. Inc., 2024 WL 98888 (Del. Super. Ct. Jan. 9,

2024); Mayor & City Council of Baltimore v. BP P.L.C., 2024 WL 3678699

(Md. Cir. Ct. July 10, 2024); City of Annapolis v. BP plc, No. C-02-CV-21-

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000250 (Md. Cir. Ct. Jan. 23, 2025); Anne Arundel Cnty. v. BP plc, No. C-

02-CV-21-000565 (Md. Cir. Ct. Jan. 23, 2025); New Jersey ex rel. Platkin

v. Exxon Mobil Corp., No. MER-L-001797-22 (N.J. Super. Ct. Law Div.

Feb. 5, 2025)).5

     Third, Plaintiff’s claims are preempted by the Clean Air Act

(“CAA”). S.A. 294-95. Conflict preemption occurs where “compliance

with both state and federal law is impossible, or where the state law

stands as an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.” Oneok, Inc. v. Learjet, Inc., 575 U.S.

373, 377 (2015) (internal quotation marks omitted); see also Farina v.

Nokia Inc., 625 F.3d 97, 115 (3d Cir. 2010). And courts have held that

the CAA preempts state common-law claims to remedy harms arising

from out-of-state emissions. See, e.g., North Carolina ex rel. Cooper v.

Tenn. Valley Auth., 615 F.3d 291, 303-06 (4th Cir. 2010). Here, Plaintiff

attempts to bring state common-law claims for alleged injuries purport-

edly resulting from the aggregate effects of global emissions that have



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  Other constitutional principles, including the Commerce Clause, the
foreign-affairs doctrine, and the Due Process Clause, confirm that Plain-
tiff may not use state law to effectively regulate the entire global energy
market. See S.A. 296-305.
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been discharged almost entirely outside of Illinois. That is squarely

preempted by the CAA. See, e.g., State ex rel. Jennings, 2024 WL 98888,

at *9 (“[C]laims . . . seeking damages for injuries resulting from out-of-

state or global greenhouse emissions and interstate pollution, are pre-

empted by the CAA.”).

     Fourth, to the extent that Plaintiff’s claims target Defendants’

statements, they are barred by the First Amendment. S.A. 296. Plain-

tiff’s Complaint alleges that Defendants “oppos[ed] GHG emission-reduc-

tion initiatives,” “disseminat[ed]” information to the “government,” and

sought to “prevent U.S. adoption” of the Kyoto Protocol. S.A. 65, 100, 133.

The First Amendment’s Speech Clause protects such activity from civil

liability. See E. R.R. Presidents Conf. v. Noerr Motor Freight, Inc., 365

U.S. 127, 145 (1961); United Mine Workers of Am. v. Pennington, 381 U.S.

657, 671 (1965). And those protections apply even if a defendant “em-

ploys unethical and deceptive methods.” Allied Tube & Conduit Corp. v.

Indian Head, Inc., 486 U.S. 492, 499-500 (1988); see New W., L.P. v. City

of Joliet, 491 F.3d 717, 722 (7th Cir. 2007).

     2. Rather than assess Defendants’ defenses, the district court re-

jected them solely because the defenses purportedly did not “arise from

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any official duties.” App. 25 (reasoning that defenses had “nothing to do

with” Defendants’ federal work). But the federal officer removal statute

requires only the “averment of a federal defense”—not one that arises

from official duties. Mesa v. California, 489 U.S. 121, 139 (1989) (empha-

sis added). That limited requirement serves merely to provide the “fed-

eral law under which the action against the federal officer arises for Art.

III purposes.” Id. at 136. It “creates Article III jurisdiction” and “repre-

sents an exception to the well-pleaded complaint rule” by authorizing ju-

risdiction on a “federal question” that appears “outside of the plaintiff’s

complaint.” Ruppel, 701 F.3d at 1180.

     Indeed, the Third Circuit has expressly rejected the district court’s

erroneous view of the statute. “What matters is that a defense raises a

federal question, not that a federal duty forms the defense.” In re Com-

monwealth’s Motion, 790 F.3d at 473. Although many federal officer re-

moval cases involve duty-based defenses, like official immunity or federal

contractor defenses, “the fact that duty-based defenses are the most com-

mon defenses does not make them the only permissible ones.” Id. (em-

phasis added). In Baker, 962 F.3d at 942 n.1, this Court approvingly cited




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the Third Circuit’s rule, and it has never imposed a requirement that a

defense arise out of official duties.

      In imposing that additional requirement here, the district court im-

properly narrowed Section 1442(a)’s reach. As explained, by its terms,

Section 1442(a) requires only that the suit “relate to” a defendant’s fed-

erally supervised activities. Congress deliberately added that phrase in

the 2011 Removal Clarification Act to “broade[n] federal officer removal

to actions, not just causally connected, but alternatively connected or as-

sociated, with acts under color of federal office.” Baker, 962 F.3d at 943.

Yet requiring the removing party to show that its defenses “arise out of

official duties” would revive the very causal requirement that Congress

interred.

      To be sure, courts have sometimes observed that the “purpose of the

removal statute is to insure a federal forum for cases where federal offi-

cials must raise defenses arising out of their official duties.” Wisconsin v.

Schaffer, 565 F.2d 961, 964 (7th Cir. 1977) (emphasis added); see Arizona

v. Manypenny, 451 U.S. 232, 241 (1981) (similar). But those statements

in Schaffer and Manypenny preceded Congress’s amendment of the fed-

eral officer removal statute in 2011. And that rough statement of purpose

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is not a statutory requirement. Rather, this Court has repeatedly under-

scored that defendants need only “‘have a colorable federal defense to the

plaintiff’s action’”—nothing more. Ruppel, 701 F.3d at 1180 (citing Mesa,

489 U.S. at 132-34); Baker, 962 F.3d at 945-46 (similar).

     Indeed, one of the cases on which Manypenny relied makes clear

that federal defenses arising from federal duties are the floor—not the

ceiling—of federal officer removal. See 451 U.S. at 242 (citing Willing-

ham, 395 U.S. at 407). In Willingham, the Court explained that, “[a]t the

very least, [the federal officer removal statute] is broad enough to cover

all cases where federal officers can raise a colorable defense arising out

of their duty to enforce federal law.” 395 U.S. at 406-07 (emphasis added).

In other words, the Court in no way limited removal to situations where

the defense arises from the official federal duty; it contemplated that re-

moval would not be so limited. And this conclusion was consistent with

the Court’s emphasis that “[t]he federal officer removal statute is not

‘narrow’ or ‘limited’”; rather, “the right of removal under [the federal of-

ficer removal statute] is made absolute whenever a suit in a state court

is for any act ‘under color’ of federal office, regardless of whether the suit

could originally have been brought in a federal court.” Id. at 406. And

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as the Third Circuit has recognized, the Supreme Court’s decision in

Acker cements the conclusion that only a colorable defense is required.

There, the Court allowed federal judges to remove a state case based on

the judges’ assertion of an intergovernmental-tax-immunity defense—a

defense not required by their judicial duties. See In re Commonwealth’s

Motion, 790 F.3d at 473 (“[T]he judges’ duties did not require them to

resist the tax.” (citing Acker, 527 U.S. at 437)).

     Accordingly, such defenses can include federal preemption—a de-

fense that arises out of the Supremacy Clause’s operation on state law,

not any duty imposed on the federal officer. See, e.g., In re Common-

wealth’s Motion, 790 F.3d at 474; Butler v. Coast Elec. Power Ass’n, 926

F.3d 190, 192, 198 (5th Cir. 2019). Such defenses can include federal

preclusion of a plaintiff’s “right of action.” Id. at 474. And they can in-

clude defenses under structural constitutional principles and the

dormant Commerce Clause. See, e.g., Doe I v. UPMC, 2020 WL 4381675,

at *7 (W.D. Pa. July 31, 2020). Any of these defenses suffices to establish

“federal law” for Article III purposes. Mesa, 489 U.S. at 136. The district

court erred in holding otherwise.




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II.   Plaintiff’s Disclaimer Cannot Defeat Federal Officer Re-
      moval.

      No doubt recognizing that its claims would impose liability for emis-

sions traceable to federally supervised work, Plaintiff sought to disclaim

such liability in the Complaint: “Plaintiff hereby disclaims injuries aris-

ing on federal property and those arising from Defendants’ provision of

non-commercial, specialized fossil fuel products to the federal govern-

ment for military and national defense purposes. Plaintiff seeks no re-

covery or relief attributable to these injuries.” S.A. 34. But it is well-

settled that “[a] disclaimer that requires a state court to determine the

nexus ‘between the charged conduct and federal authority’ is not a valid

means of precluding removal.” Express Scripts, 119 F.4th at 188; see

Maryland v. 3M Co., 130 F.4th 380, 389 (4th Cir. 2025) (same); Baker,

962 F.3d at 945 n.3 (similar). That is the case here, and the district court

erred in crediting Plaintiff’s disclaimer.

      1. Under the disclaimer doctrine, a plaintiff may forestall federal

officer removal by “explicitly renounc[ing] claims upon which federal of-

ficer removal was based.” Express Scripts, 119 F.4th at 187 (internal

quotation marks omitted); see, e.g., Raoul, 111 F.4th at 849. But a dis-

claimer is valid only if it “eliminate[s] any basis for federal officer removal
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so that, upon remand, there is no possibility that a state court would have

to determine whether a defendant acted under a federal officer’s author-

ity.” Express Scripts, 119 F.4th at 187 (emphasis in original).

     Courts give no effect to disclaimers that are “merely ‘artful pleading

designed to circumvent federal officer jurisdiction.’” St. Charles Surgical

Hosp., L.L.C. v. La. Health Serv. & Indem. Co., 990 F.3d 447, 451 (5th

Cir. 2021) (quoting Reinbold v. Advanced Auto Parts, Inc., 2018 WL

3036026, at *2 (S.D. Ill. June 19, 2018)); see 3M Co., 130 F.4th at 390

(“[T]he States’ artful pleading does not trump 3M’s theory for removal

here.”); Express Scripts, 119 F.4th at 180 (“The Commonwealth’s at-

tempts at artful pleading cannot serve as an end run around the federal

officer removal statute.”). A paradigmatic example involves a disclaimer

whose applicability “turns on the core question” whether the plaintiff’s

injuries were “caused by [the defendant’s] relationship with the federal

government.” Express Scripts, 119 F.4th at 187 (cleaned up). These dis-

claimers are “circular” and require the removing party “to prove in state

court” the very sorts of causation questions that they seek to litigate in a

federal forum. Id. at 187 (internal quotation marks omitted). A dis-

claimer is thus ineffective when a plaintiff seeks to disclaim liability from

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federally supervised activities, but its theory of liability enables it to re-

cover for harms potentially traceable to those activities. See Baker, 962

F.3d at 945 n.3; Express Scripts, 119 F.4th at 192 (finding disclaimer in-

effective where the plaintiff’s “theory of liability . . . make[s] it possible

that it will recover for work that [a defendant] claims to have ‘carried out’

for the federal government”).

      Baker again illustrates the point. There, plaintiffs sought recovery

for arsenic and lead contamination on their property. 962 F.3d at 940.

They attempted to circumvent federal officer removal by purporting to

disclaim that their lawsuit concerned any materials manufactured for

the federal government. Id. at 945 n.3. But those government materials

themselves contained arsenic and lead. The disclaimer thus implicated

a core merits question in the case: “whether the Residents’ injuries arise

from products [the defendant] manufactured for the government.” Id.

That was “a difficult causation question that a federal court should be

the one to resolve.” Id.

      This Court’s decision in Raoul, in contrast, demonstrates the lim-

ited circumstances in which courts credit a disclaimer. 111 F.4th at 849.

There, Illinois sought to hold a manufacturer, 3M, liable for

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polyfluoroalkyl substances (“PFAS”) contamination. Id. at 847. The

manufacturer claimed that one of the products it produced containing

PFAS was for the United States military. Id. The manufacturer alleged

that the contamination at issue “could either have come from” the mili-

tary product or from its other PFAS products. Id. at 848. This Court

reasoned that the complaint’s “expres[s] exclu[sion]” of PFAS contamina-

tion from military product would not alone suffice to defeat removal be-

cause “then a factfinder would need to apportion the contamination”

stemming from military and non-military products in assessing the man-

ufacturer’s government contractor defense. Id. The Court affirmed the

district court’s decision to remand the case only because the State also

“clearly and unequivocally conceded at oral argument that it would not

seek relief” with respect to areas where contamination was mixed—i.e.,

areas containing compounds from both non-governmental and govern-

mental facilities. Id. at 849. Under that additional concession, “[i]f even

a morsel of contamination” was from the governmental facilities, “the

State’s recovery is barred.” Id.

     Accordingly, in the Fourth Circuit’s materially indistinguishable

case against the same manufacturer where the plaintiffs refused to make

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the same additional concession, the court reversed the district court’s re-

liance on the States’ disclaimers as a basis for remanding to state court.

3M Co., 130 F.4th at 389. Like the Raoul court, the Fourth Circuit un-

derscored that the State’s claims would require a factfinder to “apportion

how much of a given sample of PFAS contamination” came from military

as opposed to non-military products. Id. at 391. Unlike in Raoul, how-

ever, the States “did not . . . concede” that “even a morsel of contamina-

tion” from a governmental source would defeat recovery. Id. That fact

was dispositive: Because “the States envision[ed] recovering for mixed

PFAS contamination from numerous geographic locations,” “a factfinder

must, unlike in Raoul, still decide the important causation and allocation

questions.” Id. at 392. And “those are merits questions that belong in

federal court.” Id.

     2. Plaintiff’s disclaimer is ineffective here because it seeks simul-

taneously to recover on a theory of liability based on a single, indivisible

injury and also to disclaim part of that injury—the part attributable to

federally supervised work.     Plaintiff brought this case to recover for

harms that resulted from allegedly increased emissions from the con-

sumption and use of fossil fuels.     S.A. 30-33.      To sidestep removal,

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Plaintiff purported to “disclai[m] injuries . . . arising from Defendant’s

provision of non-commercial, specialized fossil fuel products to the federal

government for military and national defense purposes.” S.A. 34. But

Defendants showed in their notice of removal that the non-commercial,

specialized fossil fuels they supplied to the federal government resulted

in emissions of the same greenhouse gases that Plaintiff complains of and

that are commingled with and indistinguishable from other greenhouse

gases in the atmosphere. See S.A. 290-91; AEP, 564 U.S. at 422 (“Green-

house gases once emitted become well mixed in the atmosphere, . . . emis-

sions in New Jersey may contribute no more to flooding in New York than

emissions in China.”). Plaintiff’s disclaimer cannot and does not distin-

guish between Plaintiff’s alleged harms that resulted from the green-

house gases emitted by the non-commercial, specialized fossil fuels and

those emitted by the commercial fossil fuels. In other words, Plaintiff’s

claimed harms and its disclaimed harms are “indivisible.”             Express

Scripts, 119 F.4th at 189.

     Unlike the plaintiff in Raoul, Plaintiff here does not contend that it

is disclaiming all relief resulting from the “mixed” greenhouse gases. See

111 F.4th at 849. Nor could it. After all, greenhouse gas emissions are

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the “singular source of [plaintiff’s] harm,” City of New York, 993 F.3d at

91, and such a disclaimer would leave nothing left of Plaintiff’s claims,

see S.A. 33 (stating that Defendants’ alleged tortious conduct “drove fossil

fuel consumption and . . . caused an . . . increase in [greenhouse gases]

emissions and accelerated global warming”).             No amount of “[a]rtful

pleading” can “transform [plaintiff’s] complaint into anything other than

a suit over global greenhouse gas emissions.” City of New York, 993 F.3d

at 91.

     Plaintiff’s disclaimer is thus no different than the one this Court

deemed ineffective in Baker. Like the plaintiffs in Baker, Plaintiff seeks

to disclaim that its lawsuit imposes liability for specialized fossil fuels

that Defendants manufactured “for the government.” 962 F.3d at 945 n.3.

And like the manufacturer in Baker, Defendants here “allege[]” that their

specialized fossil fuels “resulted in” emissions “that contained” green-

house gases. Id. These are the same greenhouse gases that Plaintiff

“claim[s] harmed [it].” Id. Plaintiff “cannot have it both ways”: either it

can disclaim harms from greenhouse emissions from any origin and thus

negate the Defendants’ opportunity to raise their federal defenses, or it

can seek to recover for those harms, in which case Plaintiff’s claims

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implicate Defendants’ federal defenses and must be resolved in federal

court. See id.

     3. The district court’s contrary rationales lack merit.

     First, the district court reasoned that Baker is distinguishable be-

cause the disclaimer there purportedly “contradicted” the plaintiffs’ “the-

ory of liability,” while here, the disclaimer appeared to be “‘redundant’

because the causes of action . . . do not go to the conduct carved out in the

disclaimer.” App. 9-10. But if Baker involved a contradiction, so does

this case. In Baker, the plaintiffs’ disclaimer was ineffective because the

harms resulting from the commercial products—lead and arsenic con-

tamination—were indistinguishable from the harms resulting from the

military products. 962 F.3d at 945 n.3. But the same is true here: Plain-

tiff attempts to “both recover from [greenhouse gases emissions] but also

disclaim government-controlled production of some of [those emissions].”

App. 11.

     Second, the district court reasoned that Plaintiff’s disclaimer here

did not contradict its theory of liability because Plaintiff’s claims were

related to “Defendants’ alleged deceptive and misleading campaign,”

while the disclaimer concerned “provision of fossil fuels to the

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government.” App. 12. As explained above, however, the district court’s

narrow focus on the claims and “complained-of conduct”—rather than the

“plaintiff’s injuries”—turns on an illusory distinction. App. 21-22. The

court’s distinction between “claims” and “injuries” is artificial because a

claim is “the set of operative facts that produce an assertable right in

court and create an entitlement to a remedy.” Underly, 78 F.4th at 352

(emphasis added); see supra 40-43. And Plaintiff’s claims—including its

claims for failure to warn, negligence, and nuisance—all require injury

as an essential element of the claim. See supra 45-46. The only pleaded

injury is one from emissions resulting from production and sale of fossil-

fuel products by Defendants, which directly implicates acts they took un-

der federal direction.

     In holding otherwise, the district court failed to credit Defendants’

theory of the case regarding the necessary link that greenhouse gas emis-

sions from production activities—including activities directed by the fed-

eral government—play in Plaintiff’s claims. App. 11(dismissing Defend-

ants’ theory as “untethered to the claims of Plaintiffs”); App. 23. As ex-

plained above, that directly contravenes this Court’s admonition that in




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assessing removal, the court must “credit only” Defendants’ “theory” of

the case. Baker, 962 F.3d at 947; see supra 19, 50.

     Defendants’ theory is at minimum a reasonable one. Defendants

plausibly alleged that “Plaintiff’s claims depend on Defendants’ produc-

tion, promotion and/or sale of oil and gas that create greenhouse gas

emissions when combusted by end users.” S.A. 222. They alleged that

“Plaintiff’s claims center on Defendants’ worldwide ‘extract[ion]’ and sale

of oil and natural gas that Plaintiff alleges has led to a ‘substantial[]’

‘increase[]’ in ‘[f]ossil fuel emissions.’” S.A. 227 (quoting S.A. 31

(Compl.¶4)). And Defendants alleged that any “alleged misrepresenta-

tions matter for Plaintiff’s tort claims only insofar as they purportedly

led to a marginal increase in greenhouse gas emissions that allegedly

have caused Plaintiff’s harms.” App. 227. Any such marginal increase,

Defendants explained, must ultimately be separated from those emis-

sions “attributable to Defendants’ production of oil and gas under the di-

rection of the federal government.” S.A. 290-91. To assess damages, a

factfinder would therefore be tasked with making difficult, indeed impos-

sible, causation and allocation determinations about which emissions are

attributable to Defendants’ purported campaign of deception and which

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indivisible emissions are attributable to Defendants’ federally directed

activities.   Under Baker, those are merits questions “a federal court

should decide.” 962 F.3d at 944.

      The district court refused to grapple with Defendants’ theory of the

case. By instead giving effect to Plaintiff’s disclaimer, the district court

wrongly denied Defendants a federal forum in which to raise their federal

defenses.

                             CONCLUSION
      The Court should reverse the district court’s remand order.




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                 CERTIFICATE OF COMPLIANCE
     The brief complies with the type-volume limitations of Seventh Cir-

cuit Rule 32(c) because it contains 13,422 words, excluding the parts ex-

empted by Federal Rule of Appellate Procedure 32(f). This brief complies

with the typeface requirements and type-style requirements of Federal

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                                              /s/ Theodore J. Boutrous Jr.
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                                                                 July 8, 2025




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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Rule 30(d) of the Circuit Rules of the United States

Court of Appeals for the Seventh Circuit, counsel for Defendants-Appel-

lants Chevron Corporation and Chevron U.S.A. Inc. states that the at-

tached Required Short Appendix and the Separate Appendix contain all

materials required by Rule 30(a) and Rule 30(b) of the Circuit Rules.



Dated: July 8, 2025                       /s/ Theodore J. Boutrous Jr.
                                               Theodore J. Boutrous Jr.




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                    REQUIRED SHORT APPENDIX


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                          ILL UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


CITY OF CHICAGO,

               Plaintiff,                         No. 24-cv-02496
                                                  Judge Franklin U. Valderrama
v.

BP P.L.C., et al.,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

         Climate change and its causes is one of the most divisive issues of our time.

For some, the burning of fossil fuels is the primary cause of climate change.

Municipalities in recent years have sought to hold fossil fuel companies liable for the

costs associated with climate change. In this case, the City of Chicago (the City) sued

oil companies BP P.L.C., BP America Inc., BP Products North America Inc., Chevron

Corporation, Chevron U.S.A. Inc., ConocoPhillips Company, ConocoPhillips, Phillips

66 Company, Phillips 66, Exxon Mobil Corporation, ExxonMobil Oil Corporation,

Shell Oil Products Company LLC, Shell PLC, Shell USA, Inc., and their primary

trade organization, the American Petroleum Institute (collectively Defendants) in

state court, alleging that they misrepresented and concealed information about their

fossil fuel products in violation of numerous state laws and various state common

laws. See generally R. 1-1, Compl. 1 Defendants removed the case to this Court



1Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and, where necessary, a page or paragraph citation.



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pursuant to 28 U.S.C. § 1442, 28 U.S.C. §§ 1331 and 1441(a). R. 1, NOR. The City

moves to remand the case to state court. R. 66, Mot. Remand. For the reasons that

follow, the Court grants the City’s motion to remand.

                                      Background 2

       The City alleges that, for decades the fossil fuel industry has misled consumers

and the public about climate change. Compl. ¶ 1. Major members of the fossil industry

have known for decades that fossil fuels are the primary cause of climate change. Id.

¶ 2. The fossil fuel industry knew that, if unabated, climate change could result in

catastrophic impacts, including droughts, floods, and severe weather events that

would impose enormous harms on cities such as Chicago. Id. Rather than warn of

these harms, Defendants “mounted a disinformation campaign beginning as early as

the 1970s to discredit the burgeoning scientific consensus on climate change . . . .” Id.

¶ 6. Defendants “misrepresented and concealed the hazards of fossil fuel products to

deceive consumers and the public about the consequences of everyday use of fossil

fuel products . . . while knowing the dangers associated with them.” Id. ¶ 9.

Defendants’ conduct “drove fossil fuel consumption and delayed the transition to a

lower-carbon future.” Id. This caused, from the City’s perspective, “an enormous,

foreseeable, and avoidable increase in anthropogenic GHG emissions and accelerated

global warming, bringing devastating consequences to the City and its people.” Id.




2In considering a motion to remand, the Court “assumes the truth of the operative complaint’s

allegations at the time of removal, but may also consider facts set forth in the notice of
removal.” Curry v. Boeing Co., 542 F. Supp. 3d 804, 808 (N.D. Ill. 2021) (cleaned up).



                                             2                                      App. 2
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      The City sued Defendants in state court asserting causes of action against all

Defendants for: strict products liability, failure to warn (Count I); negligent products

liability, failure to warn (Count II); negligence (Count III); public nuisance (Count

IV); private nuisance (Count V); nuisance violations of MCC § 7-28-030 (Count VI);

civil conspiracy (Count VII); unjust enrichment (Count VIII); consumer fraud in

violation of MCC § 2-25-090 (count IX); misrepresentations in connection with sale or

advertisement of merchandise in violation of MCC §§ 4-276-470, et seq. (Count X);

and recovery of City costs in violation of MCC § 1-20-020 (Count XI). Compl.

Defendants removed the case to this Court based upon 28 U.S.C. §§ 1331, 1441(a),

and 1442. NOR. The City moves to remand the case back to state court, arguing that

the Court lacks subject matter jurisdiction. The Court agrees.

                                  Legal Standard

      Federal courts are courts of limited jurisdiction. Exxon Mobil Corp. v.

Allapatthah Servs., Inc., 545 U.S. 546, 552 (2005). A case may only be brought in

federal court when such a cause of action arises under a federal question, 28 U.S.C.

§ 1331, or where there is diversity of citizenship and an amount-in-controversy

exceeding $75,000, id. § 1332(a); see Home Depot U.S.A., Inc. v. Jackson, 587 U.S.

435, 437–38 (2019). A defendant may remove to federal court any action filed in state

court that “could have been brought originally in federal court.” 28 U.S.C. § 1441(a);

Tylka v. Gerber Prods. Co., 211 F.3d 445, 448 (7th Cir. 2000). “The party seeking

removal has the burden of establishing federal jurisdiction.” Schur v. L.A. Weight

Loss Ctrs., Inc., 577 F.3d 752, 758 (7th Cir. 2009). “Courts should interpret the




                                           3                                   App. 3
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removal statute narrowly and presume that the plaintiff may choose his or her

forum.” Doe v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th Cir. 1993).

                                          Analysis

       Defendants assert that the Court has subject matter jurisdiction pursuant to

the federal officer removal statute, 28 U.S.C. § 1442(a)(1) and federal common law.

However, the City argues, and the Court agrees, that Defendants have abandoned

their contention that the Court has jurisdiction based on federal common law, as this

argument is relegated to a footnote in their response. 3 See R. 87, Resp. at 2–3 n.2.

Evergreen Square of Cudahy v. Wisconsin Hous. & Econ. Dev. Auth., 848 F.3d 822,

829 (7th Cir. 2017) (“A party may waive an argument by presenting it only in an

undeveloped footnote.”) (citing United States v. Warner, 792 F.3d 847, 856 (7th Cir.

2015); Harmon v. Gordon, 712 F.3d 1044, 1053 (7th Cir. 2013)); see also Sanders v.

JGWPT Holdings, Inc., 2016 WL 4009941, at *10 (N.D. Ill. July 26, 2016)

(“Arguments in footnotes are typically waived.”); J. Valderrama Standing Order,

Memorandum of Law Requirements (“Generally, the Court will not consider

substantive arguments contained in footnotes.”). That is especially true where

Defendants bear the burden of establishing federal jurisdiction—they have not met

that burden based on the arguments included in their cursory footnote. Therefore,

the Court limits its analysis to jurisdiction under the federal officer removal statute.




3Additionally, at oral argument held on February 5, 2025 (R. 112), counsel for the defense

stated that the Court only needs to consider the federal officer removal, and need not consider
removal pursuant to federal common law.



                                              4                                      App. 4
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      The federal officer removal statute permits a defendant to remove to federal

court a state court action, if the action is against “[t]he United States or an agency

thereof” or a federal officer. 28 U.S.C. § 1442(a)(1); Raoul v. 3M Co., 111 F. 4th 846,

848 (7th Cir. 2024). Federal officer removal is proper “when ‘the defendant (1) is a

person within the meaning of the statute, (2) is acting under the United States, its

agencies, or its officers, (3) is acting under color of federal authority, and (4) has a

colorable federal defense.’” Baker v. Atl. Richfield Co., 962 F.3d 937, 941 (7th Cir.

2020) (quoting Betzner v. Boeing Co., 910 F.3d 1010, 1015 (7th Cir. 2018)). Generally,

courts interpret removal statutes narrowly. See Watson v. Phillip Morris Cos., 551

U.S. 142, 147 (2007). Such is not the case, however, when it comes to the federal

officer removal statute. In that case, courts construe the federal officer removal

statute liberally, not strictly. Betzner, 910 F.3d at 1014.

      The City argues that the case should be remanded to state court because

Defendants do not satisfy the elements of the federal officer removal statute.

Specifically, the City advances four arguments for remand: (1) the City does not seek

any relief for injuries arising from Defendants’ supplying specialized fuels to the

federal government for military and national defense purposes; (2) Defendants were

not acting under the direction or control of federal officers during any of the activities

Defendants cite as grounds for removal; (3) the City does not seek to hold Defendants

liable for any act that Defendants allegedly took at the behest of a federal officer; and

(4) Defendants have not pled a colorable federal defense. R. 66-1, Memo. Remand at




                                            5                                    App. 5
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5–6. The City points out that eight courts of appeals have rejected Defendants’

removal attempts in similar cases. Id. at 1.

       Predictably, Defendants disagree, arguing that they have satisfied each

element of the federal officer removal statute. Resp. According to Defendants, it

matters not that other circuits have remanded similar cases based on similar

arguments, since Seventh Circuit authority, and specifically Baker v. Atl. Richfield

Co., 962 F.3d 937 (7th Cir. 2020) is binding on this Court and is dispositive. Id. at 2.

Because many of Defendants’ arguments are based on Baker, the Court briefly

summarizes that case here and then addresses its applicability to specific arguments

in its analysis.

       In Baker, the plaintiffs, former residents of a housing complex, sued in state

court several companies that manufactured industrial materials at a refinery that

previously stood on the same land as the complex. The plaintiffs alleged that the

defendants polluted the soil in and around their housing complex, exposing plaintiffs

to hazardous substances like lead and arsenic. 962 F.3d at 939. The defendants

removed the case to federal court under the federal officer removal statute, on the

basis that the government directed the defendants or their predecessors to produce

certain materials for the military, supervised the distribution of these goods, and

controlled their ultimate usages. 962 F.3d at 939–41. The plaintiffs moved to remand

the case to state court, which the district court granted, finding that the defendants

acted under color of federal office for only a portion of the time covered by the

plaintiffs’ claims. 962 F.3d at 940.




                                           6                                   App. 6
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      The Seventh Circuit reversed. The court explained that “where a private

contractor helps the Government to produce an item that it needs, the assistance that

private contractors provide federal officers goes beyond simple compliance with the

law and helps officers fulfill other basic governmental tasks.” Baker, 962 F.3d at 942

(cleaned up). 4 The court found that the defendants conducted wartime operations

under federal authority by producing chemicals that the government would have

otherwise had to manufacture and because the government used the chemicals to

conduct a war. Id. at 942–43. Thus, the defendants “acted under federal authority”

when manufacturing those chemicals. Id. at 943.

      The court then turned to whether the conduct alleged in the complaint related

to “acts for or relating to” federal authority. That is, whether there was a causal

connection between the charged conduct and asserted federal authority. Baker, 962

F.3d at 943. The court rejected the plaintiffs’ contention that the defendants failed to

show that their injuries were caused by the defendants’ wartime production for the

government because the plaintiffs mistakenly were demanding “an airtight case on

the merits in order to show the required causal connection.” Id. The court reminded

that Supreme Court “jurisprudence teaches that the policy in favor of federal officer

removal should not be frustrated by a narrow, grudging interpretation of

§ 1442(a)(1).” Id. (cleaned up). The court found that Congress, in amending the

federal officer removal statute in 2011, “broadened federal officer removal to actions,



4This Order uses (cleaned up) to indicate that internal quotation marks, alterations, and

citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations, 18
Journal of Appellate Practice and Process 143 (2017).



                                           7                                    App. 7
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not just causally connected, but alternatively connected or associated, with acts under

color of federal office.” Id. (emphases in original) (cleaned up). Accordingly, the

Seventh Circuit abandoned the “causal connection” test and “join[ed] all the courts of

appeals that have replaced causation with connection and expressly adopt[ed] that

standard as [its] own.” Id. at 944. When viewed under that lens, the defendants did

not need to allege that the complained-of-conduct itself was at the behest of a federal

agency. Id. It is enough for the “acting under” test that the allegations are directed

at the relationship between the defendant and the federal government. Id. at 945.

The court concluded that the parties’ dispute over whether the plaintiffs’ injuries

arose from products the defendants manufactured for the government was a

causation question that federal courts can resolve. Id.

         Keeping Baker in mind, the Court addresses each of the City’s arguments

below.

         I.    Disclaimer of Injuries

         As a preliminary matter, the City argues that “[m]any of Defendants’ removal

arguments are irrelevant because the Complaint expressly ‘disclaims injuries . . .

arising from Defendants’ provision of non-commercial, specialized fossil fuel products

to the federal government for military and national defense purposes.’” Memo.

Remand at 6 (quoting Compl. ¶ 11). That is, the Complaint, from the City’s point of

view, does not place Defendants’ sales of specialized military fuels at issue. Id. Courts,

asserts the City, grant motions to remand where the plaintiff expressly disclaims the

claims upon which the federal officer removal was based. Id. (citing, inter alia,




                                            8                                    App. 8
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Kelleher v. A.W. Chesterton Co., 2015 WL 7422756, at *2 (S.D. Ill. Nov. 23, 2015);

Reinbold v. Advanced Auto Parts, Inc., 2018 WL 3036026, at *2 (S.D. Ill. June 19,

2018)).

      Defendants counter that the City’s disclaimer of injuries argument is

foreclosed by Baker. Resp. at 27. As for Kelleher and Reinbold, those cases, from

Defendants’ perspective, are distinguishable as they pre-date Baker. Id. at 28. And,

in a notice of supplemental authority, Defendants point to a more recent Seventh

Circuit case, People ex rel. Raoul v. 3M Co., 111 F.4th 846, 849 (7th Cir. 2024) and a

First Circuit case that relied in part on 3M, Gov’t of Puerto Rico v. Express Scripts,

Inc., 119 F.4th 174, 192–93 (1st Cir. 2024). R. 97, Defs.’ Suppl. Auth.

      In Baker, in a footnote, the Seventh Circuit addressed and rejected the

plaintiffs’ purported disclaimer as it contradicted their theory of liability. 962 F.3d at

945 n.3. The plaintiffs purported to disclaim that their lawsuit was about one of the

defendant’s manufacture of Freon-12 for the government, but because the defendant

alleged that its Freon-12 production resulted in waste streams containing lead and

arsenic waste, two of the main toxins the plaintiffs claimed harmed them, the court

found that the plaintiffs “could not have it both ways.” Id. Put another way, the

Seventh Circuit did not allow the plaintiffs to seek damages for certain types of

pollution, while simultaneously disclaiming those same types of pollution for

jurisdictional purposes.

      In 3M, like Baker, the plaintiffs alleged violations of several Illinois

environmental statutes, as well as common law claims, against a company that




                                            9                                    App. 9
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produces numerous chemical products in its manufacturing operations. 111 F.4th at

849. The plaintiffs’ suit was not premised on any misrepresentations made by the

company. The Seventh Circuit agreed with the district court that the plaintiffs’

disclaimer—that it would not seek relief against the company for mixed

contamination, that is, contamination arising from private and government-

contracted conduct—brought the disclaimer outside the scope of the disclaimer in

Baker, and prevented the defendant from raising a colorable federal contractor

defense. Id. The plaintiff in Express Scripts alleged that defendants “schemed to

unlawfully inflate insulin prices through rebate negotiations and price setting.” 119

F.4th at 179. Similar to the plaintiffs in 3M, the plaintiff sought to evade federal

jurisdiction by disclaiming any “relief relating to any federal program . . . or any

contract related to a federal program.” Id. at 189. However, the First Circuit found

that it was impossible to divide the defendant’s negotiations over rebates and prices

over insulin between “federal and non-federal work to enforce the disclaimer,” and

thus, crediting the defendant’s theory of the case, the disclaimer did not foreclose

colorable federal defenses. Id. at 192–93.

      Here, the City states in its Complaint that it “hereby disclaims injuries arising

on federal property and those arising from Defendants’ provisions of non-commercial,

specialized fossil fuel products to the federal government for military and national

defense purposes. [The City] seeks no recovery or relief attributable to these injuries.”

Compl. ¶ 11 n.6. The Court agrees with the City that neither Baker, 3M, nor Express

Scripts render the City’s disclaimer ineffective. R. 93, Reply at 5–6; R. 99, Pl. Resp.




                                             10                               App. 10
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Suppl. Auth. Unlike in Baker, where, as discussed above, there was a contradiction

between the plaintiffs’ attempt to both recover from lead and arsenic contamination

but also disclaim government-controlled production of some of that contamination,

here, there is no contradiction between the City’s disclaimer and its deception-focused

theory of liability. Reply at 5. Indeed, as counsel for the City acknowledged during

oral argument, the City’s disclaimer, to an extent, is “redundant” because the causes

of action brought by the City do not go to the conduct carved out in the disclaimer. As

the Third Circuit stated in City of Hoboken v. Chevron Corp. about a materially

identical disclaimer, “the disclaimers are no ruse . . . [the plaintiffs] carve out a small

island that would needlessly complicate their cases.” 45 F.4th 699, 713 (3d Cir. 2022);

see also City of Annapolis, Maryland v. BP P.L.C., 2022 WL 4548226, at *8 (D. Md.

Sept. 29, 2022), aff’d sub nom. Anne Arundel Cnty., Maryland v. BP P.L.C., 94 F.4th

343 (4th Cir. 2024)).

      Finally, Defendants are correct that the Court must credit a defendant’s

“reasonable” theory of the case. Baker, 962 F.3d at 947. The Supreme Court has stated

that “federal officers ‘should have the opportunity to present their version of the facts’

on disputes at the heart of their federal service to a federal court.” Express Scripts,

119 F.4th at 189 (quoting Willingham v. Morgan, 395 U.S. 402, 409 (1969)). However,

a defendant cannot simply offer “any theory of the case, however untethered to the

claims of Plaintiffs, because this Court must ‘credit’ that theory,” as doing so “would

completely ignore the requirement that there must be a causal connection with the

plaintiff’s claims.” City & Cnty. of Honolulu v. Sunoco LP, 2021 WL 531237, at *7 (D.




                                            11                                  App. 11
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Haw. Feb. 12, 2021) (Honolulu I), aff’d, 39 F.4th 1101 (9th Cir. 2022) (emphasis in

original). As the City points out, the Seventh Circuit found that the plaintiff-State’s

disclaimer made the federal contractor defense “wholly irrelevant under the State’s

theory of recovery” in 3M. Pl. Resp. Suppl. Auth. at 2 (citing 3M Co., 111 F.4th at 849

(emphasis added)). Here, the City’s claims are based on Defendants’ alleged deceptive

and misleading campaign minimizing the dangers of fossil fuel consumption, so there

is no contradiction with the City’s disclaimer regarding Defendants’ provision of fossil

fuels to the government for military and national defense purposes.

       Even if Defendants were correct that the City’s disclaimer is invalid, however,

the Court nonetheless agrees with the City that they fail to satisfy other

requirements of federal officer removal, as discussed below.

       II.    Federal Officer Elements

       Briefly, as stated above, federal officer removal is proper “when the defendant

(1) is a person within the meaning of the statute, (2) is acting under the United States,

its agencies, or its officers, (3) is acting under color of federal authority, and (4) has a

colorable federal defense.” Baker, 962 F.3d at 941. Starting with the first element,

the City does not contend that Defendants, all corporations, are not persons under

§ 1442(a). No matter, as the Court finds that Defendants easily satisfy the first

element for federal officer removal. Ruppel v. CBS Corp., 701 F.3d 1176, 1181 (7th

Cir. 2012) (Congress did not exclude corporations as “persons” under § 1442(a)).




                                            12                                   App. 12
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Instead, the City maintains that Defendants do not satisfy the remaining elements

for federal officer removal. The Court addresses each in turn.

              A. Acting Under Federal Officers

       The second element, the “acting under” requirement, looks to the relationship

between the defendant seeking to remove the case and the United States, its agencies,

or its officers. Roberts v. Smith & Wesson Brands, Inc., 2023 WL 6213654, at *5 (N.D.

Ill. Sept. 25, 2023) (Roberts I), aff’d, 98 F.4th 810 (7th Cir. 2024). This element

includes situations where the federal government uses a private corporation to

achieve an end it would have otherwise used its own agents to complete. Ruppel, 701

F.3d at 1181. “Acting under” covers situations where defendants work “hand-in-hand

with the federal government to achieve a task that furthers an end of the federal

government.” Id. Similarly, this element is satisfied where the government enlists a

private party in “‘an effort to assist, or to help carry out, the federal superior’s duties

or tasks.’” Id. (quoting Watson, 551 U.S. at 152 (emphases in original)). Defendants

insist that they were “acting under” federal officers when they engaged in several

activities, detailed briefly below.

       First, Defendants contend that they acted under federal officers by repeatedly

performing critical and necessary functions for the U.S. military to further national

defense. NOR ¶ 22. More specifically, that they acted under federal officers when they

produced aviation fuel gas or “avgas” and operated petroleum infrastructure,

particularly during World War II and the Korean War. Id. ¶¶ 29, 31. Second,

Defendants maintain that they “continue to produce and supply large quantities of




                                            13                                  App. 13
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highly specialized fuels that are required to conform to exact DOD specifications” to

the military to this day. Resp. at 12; NOR ¶¶ 45–55. Third, Defendants contend that

removal is appropriate because of the role of Standard Oil of California, a Chevron

predecessor, in operating Elk Hills Reserve in California. NOR ¶ 59. The Elk Hills

Reserve was a petroleum reserve created in 1912 intended to preserve oil in the

ground for national emergencies. Id. ¶ 58. Standard Oil, note Defendants, operated

the U.S. Navy’s portion of the oil reserve according to an Operating Agreement which

specified that Standard Oil was “in the employ of the Navy Department and [was]

responsible to the Secretary thereof.” Id. ¶ 70 (emphasis in NOR). Standard Oil, insist

Defendants, operated Elk Hills under the “subjection, guidance, or control” of the

Navy. Id. ¶ 72 (quoting Watson, 551 U.S. at 151).

      Fourth, Defendants assert that they acted under federal officers “by producing

oil and gas pursuant to the federal mineral exploitation and production regime

created by the Outer Continental Shelf Lands Act.” NOR ¶¶ 82–109. The federal

government, according to Defendants, “retained the power to direct how oil and gas

resources would be extracted and sold from the [Outer Continental Shelf (OCS)].” Id.

¶ 82. Fifth, and finally, in response to the 1970’s oil embargoes, Congress created the

Strategic Petroleum Reserve to reduce the impact of disruptions in supplies of

petroleum products. Id. ¶ 117. Defendants insist that they acted under federal

officers by supplying federally owned oil for gas and managing the Strategic

Petroleum Reserve for the government. Id. ¶¶ 119–20. The federal government,




                                          14                                 App. 14
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assert Defendants, required certain Defendants or their predecessors to pay royalties

in kind, which the government used for its strategic stockpile. Id. ¶ 120.

      The City takes issue with each of Defendants’ activities for which they claim

they acted under federal authority, raising four primary arguments that pertain to

some or all of the activities. The Court addresses each in turn.

      As an initial matter, the City contends—and the Court agrees, as explained

above—that the City’s disclaimer excludes injuries caused by Defendants’ production

of avgas during World War II and the Korean War, as well as sales of specialized,

non-commercial fuels to the military at any time. Memo. Remand at 6–8; Reply at 5.

So too with Defendants’ interactions with the Strategic Petroleum Reserve. Memo.

Remand at 13 (citing Hoboken, 45 F.4th at 713).

       The City also argues that none of the above-listed activities demonstrate

federal control because they were not closely controlled by the government, but rather

demonstrate “the story of a narrow business relationship,” and which other courts,

including several appellate courts, have found to be insufficient to show the requisite

“subjection, guidance, or control” required for the “acting under” element. Memo.

Remand at 11–12; Reply at 14–15 (citing, inter alia, Mayor & City Council of

Baltimore v. BP P.L.C., 31 F.4th 178, 235–38 (4th Cir. 2022); City & Cnty. of Honolulu

v. Sunoco LP, 39 F.4th 1101, 1109 (9th Cir. 2022) (Honolulu II)); see also Memo.

Remand at 9 (citing Cnty. of San Mateo v. Chevron Corp., 32 F.4th 733, 757 (9th Cir.

2022) (“a person is not ‘acting under’ a federal officer when the person enters into an

arm’s-length business arrangement with the federal government or supplies it with




                                          15                                 App. 15
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widely available commercial products or services.”); Roberts v. Smith & Wesson

Brands, Inc., 98 F.4th 810, 814 (7th Cir. 2024) (Roberts II) (“[A] business might be

‘acting under’ a federal officer if the officer commanded it or contracted with it to

produce a particular item in a specified way.”) (emphasis in brief); Memo. Remand at

9–16. Additionally, argues the City, Defendants simply complied with federal laws,

rules, and regulations when they executed the listed activities, which is insufficient

to constitute acting under a federal officer. Memo. Remand at 8–9 (citing, inter alia,

Kelly v. Martin & Bayley, Inc., 503 F.3d 584, 588 (7th Cir. 2007)); id. at 9–16. In

support of its contentions that Defendants’ activities are merely arms-length

transactions or constitute compliance with federal rules, the City cites to numerous

out-of-Circuit cases that have rejected similar arguments and exhibits raised by

Defendants. See, e.g., id. at 11–12; Reply at 14–15 (citing, inter alia, Mayor & City

Council of Baltimore, 31 F.4th at 235–38; Honolulu II, 39 F.4th at 1109).

      Defendants retort that under Baker, their activities satisfy the acting-under

standard. That is, Defendants’ fuel production and sales activities were done

according to “detailed specifications,” under federal “compulsion,” and subject to

“continuous federal supervision”—which, Defendants argue, suffices to meet the

acting-under standard under Baker. Resp. at 6–7 (quoting Baker, 962 F.3d at 943).

Additionally, posit Defendants, much of the activity, including their supply of

specialized fuel to meet Department of Defense demands, would have had to be

performed by the Government in the absence of the contracts with Defendants. Id. at

13 (citing Baker, 962 F.3d at 942). As discussed above, the Court finds that the City’s




                                          16                                 App. 16
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disclaimer forecloses Defendants’ reliance on the provision of specialized fuels to the

military. If the disclaimer were not effective, however, the Court finds that

Defendants’ argument has merit.

      The City’s reliance on out-of-Circuit cases is insufficient on this point, as the

Court agrees with Defendants that the Seventh Circuit adopted a broader

interpretation of the “acting under” standard in Baker than other Circuits have

applied. For example, the Fourth Circuit in Mayor & City Council of Baltimore v. BP

P.L.C., rejected the defendants’ argument that they acted under federal officials when

it “helped the Government to produce an item that it needs” by selling fuel for resale

on Navy bases, as “such logic would bring every seller of contracted goods and services

within the ambit of § 1442 when the government is a customer.” 31 F.4th at 230

(citing Watson, 551 U.S. at 153). As Defendants point out, however, Baker’s holding

is more encompassing, in that it found that the defendants’ sale to the government of

materials it needed for war efforts was sufficient to satisfy the acting under

requirement. Resp. at 16 (citing Baker, 962, F.3d at 942). The City’s citation to

Roberts does not change that analysis. Reply at 14. In Roberts, the Seventh Circuit

cited to Watson in support of the proposition that “a business might be ‘acting under’

a federal officer if the officer commanded it or contracted with it to produce a

particular item in a specified way.” 98 F.4th at 814. But the defendant in Roberts did

not contend that the government directed it to make a weapon at all, let alone for any

wartime purpose.




                                          17                                 App. 17
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      No matter, because the Court agrees with the City that, not only does the

disclaimer foreclose the above argument, but also the timing of certain activities and

the relationship of the activities to the crux of the City’s claims do not support a

finding that Defendants were acting under a federal official. Specifically, the City

argues that Defendants’ activities during World War II and the Korean War cannot

justify federal officer removal because Defendants’ activities during those wars

predate the deceptive conduct alleged in the Complaint. Memo. Remand at 14 (citing

Anne Arundel, 94 F.4th at 349; State by Tong v. Exxon Mobil Corp., 83 F.4th 122, 144

(2d Cir. 2023)). Similarly, the City posits that Standard Oil of California’s status as

the operator of the Elk Hills petroleum reserve does not preclude remand, as it

“precedes and bears no relationship to Defendants’ charged conduct.” Reply at 15.

Defendants respond that the fact that these activities pre-date the alleged

disinformation campaign, is of no moment because “the emissions from these wartime

periods are indistinguishable from and cumulative with all later emissions.” Resp. at

12.

      The City correctly points out that several circuit courts have rejected similar

arguments—and declarations cited in support—raised by Defendants. See Reply at

10. As the United States Court of Appeals for the District of Columbia recently noted

in a similar case:

      But the District does not allege the Companies acted unlawfully until the late
      1980s, and none of the alleged misrepresentations bears any relationship to
      the sale or production of military fuels in the mid-20th century. There is simply
      no relationship between actions taken by the Companies’ predecessors in the




                                          18                                 App. 18
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      1940s and 1950s and the allegedly deceptive statements made by the
      Companies about climate change since 1980.

D.C. v. Exxon Mobil Corp., 89 F.4th 144, 156 (D.C. Cir. 2023); see also Anne Arundel

Cnty., 94 F.4th at 349 (same).

      The Court finds this reasoning persuasive. Here, the City’s Complaint does not

take aim at Defendants’ production of fossil fuels during World War II or the Korean

War for that matter. Instead, the Complaint takes issue with Defendants’ alleged

campaign of deception and misrepresentation in the 1980s of the dangers of fossil fuel

vis-à-vis the environment. The fact that Defendants acted under the federal

government by operating and managing government-owned and/or government-

funded petroleum production facilities is of no import. Unlike the claims in Baker,

this case is about Defendants’ alleged misrepresentations; not their work with or on

behalf of the government that led to or contributed to fossil fuel emissions.

      So too with Defendants’ more recent activities, involving the “extraction of

gasoline or operation of energy infrastructure, either under federal regulations or via

commercial relationships with the federal government.” Anne Arundel, 94 F.4th at

349. As discussed in more detail below, the Court agrees with the Fourth Circuit’s

analysis that Defendants’ activities involving “fossil fuel production rather than

concealment or misrepresentation of information about fossil fuel products,” cannot

support the acting under element because “those activities fail to show the required

relatedness,” and the defendants did “not argue the federal government required

them to market or describe their products in a certain way.” Id. Similarly, Defendants

in this case do not argue that the government required them to market their products




                                          19                                    App. 19
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in any specific way. For the foregoing reasons, the Court agrees with the City that

Defendants fail to satisfy the acting under element of federal officer removal.

             B. Relation to Charged Conduct to Acting under Color of
                Federal Authority

      The third element requires that the gravamen of the claim against Defendants

occur while they acted under color of federal authority. “[T]his requirement is distinct

from the ‘acting under’ requirement in the same way a bona fide federal officer could

not remove a trespass suit that occurred while he was taking out the garbage—there

must be a causal connection between the charged conduct and asserted official

authority.” Ruppel, 701 F.3d at 1181 (cleaned up).

      Defendants argue that the City’s claims are “for or relating to” acts Defendants

performed under color of office. NOR ¶ 128. To satisfy this element, assert

Defendants, there need only be a “connection or association with acts under federal

office.” Id. (quoting Baker, 962 F.3d at 943) (cleaned up). It is not necessary, argue

Defendants, that the complained-of conduct itself was at the behest of a federal

agency. Id. ¶ 130; Resp. at 21. In Baker, point out Defendants, the Seventh Circuit

held that it was “enough for the present purposes of removal that at least some of the

pollution arose from the federal acts.” Resp. at 21 (quoting 962 F.3d at 945) (emphasis

in brief). From Defendants’ perspective, here, as in Baker, the only environmental

harms are those caused by emissions arising from acts undertaken at the direction of

federal officers. Id. Along the same lines, posit Defendants, “[p]roduction and

consumption are integral components of [the City’s] alleged causal theory,” such as

the City’s allegations that Defendants’ extraction and sale of fossil fuel products have




                                          20                                 App. 20
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led to an increase in greenhouse gas emissions, which have caused devastating

climate change impacts to the City. Id. at 22 (citing Compl. ¶¶ 1, 4). The Court cannot,

argue Defendants, allow the City to evade federal jurisdiction by focusing just on

Defendants’ alleged deception (the complained-of conduct), and not on the production,

sale, and consumption of oil and gas producing emissions (the alleged mechanism of

injury), as doing so would improperly “elevate form over substance and allow parties

to evade” federal court. Id. at 23 (quoting Aetna Health Inc. v. Davila, 542 U.S. 200,

214 (2004) and citing Jarbough v. Att’y Gen. of U.S., 483 F.3d 184, 189 (3d Cir. 2007);

Cnty. Bd. of Arlington Cnty. v. Express Scripts Pharmacy, Inc., 996 F.3d 243, 256 (4th

Cir. 2021)). At bottom, the Court must examine the “gravamen” of the Complaint and

set “aside any attempts at artful pleading.” Id. at 22 (quoting Fry v. Napoleon Cmty.

Sch., 580 U.S. 154, 169 (2017) and citing OBB Personenverkehr AG v. Sachs, 577 U.S.

27, 35 (2015)).

      The City counters that Defendants misread Baker’s statement that federal-

officer removal does not require “that the complained-of conduct itself was at the

behest of a federal agency.” Reply at 7 (quoting Baker, 962 F.3d at 944). The way the

City sees it, this statement is simply another way to say that federal-officer removal

does not require a strict “causal connection” between a defendant’s charged conduct

and federal authority, but rather a non-causal “connection or association” will suffice.

Id. Indeed, the Seventh Circuit made clear that the focus remains on whether there

is a “connection or association” between the charged conduct (i.e., “the challenged




                                          21                                 App. 21
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act”) and federal authority. Id. (citing Baker, 962 F.3d at 944–45 (quotations

omitted)).

       As for the other cases cited by Defendants, the City argues that they are

inapposite. In Frye, the Supreme Court analyzed whether the plaintiff’s claims were

subject to the Individuals with Disabilities Education Act’s administrative

exhaustion requirement, and in that context, “explained that ‘the gravamen of a

complaint’ was defined by the ‘conduct that violated’ the law, not by the ‘nature’ of a

plaintiff’s injuries.” Resp. at 7–8 (quoting 580 U.S. at 169–71, 174). And in Sachs, the

Supreme Court construed an exception to the Foreign Sovereign Immunities Act, not

the federal-officer removal statute, and did not address the phrase “for or relating to.”

Id. at 7 (citing 577 U.S. at 35). None of the other cases cited by Defendants are even

close to being on-point, as none address federal-officer removal. See id. at 8. As for

Defendants’ contention that the City engages in “artful pleading,” the City posits that

that exception to the well-pleaded complaint rule pertains only to federal-question

jurisdiction, which Defendants have waived. Id. at 8 (citing Burda v. M. Ecker Co.,

954 F.2d 434, 440 (7th Cir. 1992); Hoboken, 45 F.4th at 713 (“Artful pleading

disguises federal claims as state ones. Yet here, there are no federal claims to

disguise.”)).

       The Court agrees with the City that Baker does not stand for the proposition

that federal officer removal may be based on a relation to a plaintiff’s injuries rather

than to the claims themselves. So, as stated above in relation to the City’s disclaimer,

the Court agrees with the City and out-of-Circuit cases addressing substantially




                                           22                                 App. 22
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similar claims and arguments that the nexus element does not authorize Defendants

to rewrite the City’s claims into something they are not. Resp. at 9 (citing Honolulu

I, 2021 WL 531237, at *7 (“[I]f Defendants had it their way, they could assert any

theory of the case, however untethered to the claims of Plaintiffs, because this Court

must ‘credit’ that theory”); Delaware v. BP Am., Inc., 578 F. Supp. 3d 618, 636 n.21

(D. Del. 2022) (rejecting Defendants’ “misunderst[anding]” that “the Court must

credit their ‘theory of the case’”)). Accordingly, the Court finds that the charged

conduct is insufficiently connected to any acts taken by Defendants under federal

authority to support federal officer removal.

             C. Colorable Defense

      The fourth and final element for federal officer removal is the existence of a

colorable defense. Defendants must establish that they have a “colorable” federal

defense to the City’s claims. This requirement “not only satisfies Article III

jurisdiction, [but] also encapsulates Congress’s desire to have federal defenses

litigated in federal forums.” Ruppel, 701 F.3d at 1182. Defendants assert that they

have several colorable defenses to the City‘s claims: the government contractor

defense, preemption, federal immunity, NOR ¶ 141, as well as the Interstate and

Foreign Commerce Clause, the Supremacy Clause, the Due Process Clause, and the

foreign affairs doctrine, id. ¶ 144. The City argues that none have merit.

             1. Government Contractor Defense

      As the Seventh Circuit explained in Baker, “[t]he government contractor

defense, developed in Boyle v. United Technologies Corp., [487 U.S. 500, 511–12, 108




                                         23                                  App. 23
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S.Ct. 2510, 101 L.Ed.2d 442 (1988),] immunizes government contractors from state

tort law when the government had a hand in a defendant's allegedly defective design.”

Baker, 962 F.3d at 946–47 (cleaned up). The “defense applies where (1) the federal

government approved reasonably precise specifications, (2) the manufactured

equipment conformed to the government’s specifications, and (3) the contractor

warned the federal government about the equipment’s dangers that were unknown

to the government.” Id. (cleaned up).

      Defendants maintain that they produced oil and gas at the direction of the

federal government and thus have a colorable argument that they are immune from

liability for any alleged injuries resulting therefrom. NOR ¶ 142. Baker, from

Defendants’ perspective, demonstrates that the government contractor defense is

applicable here. Id. ¶ 143.

      The City contends that, not only has it disclaimed injuries relating to the

military sales of specialized fuels, but also the federal contractor defense has nothing

to do with the Complaint. Resp. at 19; Reply at 17–18. For the same reasons discussed

above, the Court agrees that the federal contractor defense is unavailable to

Defendants based on the City’s disclaimer, and importantly, the fact that Defendants

do not allege that the government ordered their allegedly deceptive acts. See

Honolulu II, 39 F. 4th at 1110 (rejecting government contractor defense as there was

no allegation that government ordered deceptive conduct).




                                          24                                 App. 24
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             2. Remaining Defenses

      As for Defendants’ remaining alleged defenses, the City argues that these

defenses are inapplicable as “they have nothing to do with the actions Defendants

claim they took under federal direction.” Memo. Remand at 19. Again, the Court

agrees. As the City correctly notes, the defenses do not arise from any official duties.

      III.   Request for Fees

      The City requests that the Court award it fees and costs under 28 U.S.C.

§ 1447(c), due to Defendants’ “objectively baseless removal arguments” that have

been soundly rejected by myriad courts, including courts of appeal in eight different

circuits. Memo. Remand at 3, 30. Predictably, Defendants disagree, taking the

position that they raise “numerous meritorious grounds for removal.” Resp. at 29.

True, as the City points out, most of Defendants’ arguments and exhibits are recycled

and have been rejected by every out-of-Circuit court to consider them. Still, the Court

cannot say, in the face of Baker, that Defendants “lacked an objectively reasonable

basis for seeking removal.” Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005).

Although the Court finds Baker distinguishable in relevant part, and therefore

disagrees with Defendants that it precludes removal, Defendants’ arguments based

on Baker were reasonable, such that the Court finds that an award of attorneys’ fees

would be improper. See id.

                                     Conclusion

      For the foregoing reasons, the Court grants the City’s Motion to Remand [66]

in part and denies it in part. It grants it in part, in that the case is remanded and the




                                           25                                 App. 25
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Clerk’s Office is directed to remand this case to the Circuit Court of Cook County,

Illinois immediately. It denies it in part, in that the Court declines to award the City

fees and expenses.




Date: 5/16/2025
                                               United States District Judge
                                               Franklin U. Valderrama




                                          26                                  App. 26
